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                       EXHIBIT 1
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                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

      CARLOS O. NESBETH, AMIT            )
      GODAMBE, JENNY GALLERY, MISTY      )
      HOWELL and MICAH WEBB, individually)              CIVIL ACTION NO.: 21-cv-01444-PD
      and on behalf of all others similarly situated,
                                         )
                                         )
                            Plaintiffs,  )
                                         )
                 v.                      )
                                         )
      ICON CLINICAL RESEARCH, LLC, THE )
      BOARD OF DIRECTORS OF ICON         )
      CLINICAL RESEARCH, LLC, THE 401(K) )
      PLAN COMMITTEE OF ICON CLINICAL )
      RESEARCH, LLC and JOHN DOES 1-30. )
                                         )
                            Defendants.  )

                         CLASS ACTION SETTLEMENT AGREEMENT

       This Class Action Settlement Agreement (the “Settlement Agreement”) is entered into
 between and among the Class Representatives, all Class Members, and the Defendants.

         NOW, THEREFORE, without any admission or concession on the part of the Class
 Representatives of any lack of merit of the Class Action, and without any admission or
 concession on the part of Defendants as to the merits of the allegations or claims asserted in the
 Class Action, it is hereby STIPULATED AND AGREED, by and among the Settling Parties to
 this Settlement Agreement, through their respective attorneys, subject to approval of the Court
 pursuant to Federal Rule of Civil Procedure 23(e), in consideration of the benefits flowing to the
 Settling Parties hereto from the Settlement Agreement, that all Released Claims as against the
 Released Parties shall be compromised, settled, released, and dismissed with prejudice, upon and
 subject to the following terms and conditions:

 1.       ARTICLE 1 – DEFINITIONS

         As used in this Settlement Agreement and the Exhibits hereto, unless otherwise defined,
 the following terms have the meanings specified below:

          1.1.     “Active Account” means an individual investment account in the Plan with a
                   balance greater than $0 as of March 31, 2022.

          1.2.     “Administrative Expenses” means expenses incurred in the administration of this
                   Settlement Agreement, including (a) all fees, expenses, and costs associated with
                   providing the Settlement Notice to the Class Members, including but not limited
                   to the fees of the Plan’s Recordkeeper to identify the names and addresses of



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                   Class Members; (b) related tax expenses (including taxes and tax expenses as
                   described in Section 4.3); (c) all expenses and costs associated with the
                   distribution of funds under the Plan of Allocation, including but not limited to the
                   fees of the Plan’s Recordkeeper associated with implementing this Settlement
                   Agreement, facilitating the distribution of funds under the Plan of Allocation, and
                   gathering the data necessary to prepare the Plan of Allocation; (d) all fees and
                   expenses of the Settlement Administrator and Escrow Agent; (e) all fees and
                   expenses of the Independent Fiduciary, not to exceed $25,000; and (f) all fees,
                   expenses, and costs associated with providing CAFA Notices. Excluded from
                   Administrative Expenses are the Settling Parties’ respective legal fees and
                   expenses. Administrative Expenses shall be paid from the Gross Settlement
                   Amount.

          1.3.     “Alternate Payee” means a Person other than a participant or Beneficiary in the
                   Plan who is entitled to a benefit under the Plan as a result of a QDRO.

          1.4.     “Attorneys’ Fees and Costs” means the amount awarded by the Court as
                   compensation for the services provided by Class Counsel. The amount of
                   attorneys’ fees for Class Counsel shall not exceed 33 1/3% of the Gross
                   Settlement Amount (a maximum amount of $316,635.00), which shall be
                   recovered from the Gross Settlement Amount. Class Counsel also will seek
                   reimbursement for all litigation costs and expenses advanced and carried by Class
                   Counsel for the duration of this Class Action, including the pre-litigation
                   investigation period, not to exceed $50,000.00, which also shall be recovered
                   from the Gross Settlement Amount.

          1.5.     “Authorized Administrator” means any entity, other than the Recordkeeper, with
                   appropriate administrative authority under the Plan.

          1.6.     “Beneficiary” means any individual, trust, estate, or other recipient entitled to
                   receive death benefits payable under the Plan, on either a primary or contingent
                   basis, other than an Alternate Payee.

          1.7.     “CAFA” means the Class Action Fairness Act of 2005, 28 U.S.C. §§ 1711-1715.

          1.8.     “CAFA Notice” means notice of this proposed Settlement to the appropriate
                   federal and state officials pursuant to CAFA, to be issued by Defendants,
                   substantially in the form set forth in Exhibit E hereto.

          1.9.     “Case Contribution Awards” means the monetary amount awarded by the Court
                   to each Class Representative in recognition of the Class Representative’s
                   assistance in the prosecution of this Class Action, for which Class Counsel may
                   seek an amount not exceeding $10,000 per Class Representative payable from the
                   Gross Settlement Amount. Any such Case Contribution Award shall be subject to
                   the approval of the Court.




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          1.10.    “Class Action” means Nesbeth, et al. v. ICON Clinical Research, LLC., et al.,
                   Case No. 2:21-cv-01444-PD, in the United States District Court for the Eastern
                   District of Pennsylvania.

          1.11.    “Class Counsel” means Capozzi Adler, P.C.

          1.12.    “Class Members” means all individuals in the Settlement Class, including the
                   Class Representatives.

          1.13.    “Class Period” means the period from March 26, 2015, through the date of the
                   Preliminary Approval Order.

          1.14.    “Class Representatives” means Carlos O. Nesbeth, Amit Godambe, Jenny
                   Gallery, Misty Howell and Micah Webb.

          1.15.    “Complaint” means the Complaint filed on March 26, 2021.

          1.16.    “Court” means the United States District Court for the Eastern District of
                   Pennsylvania.

          1.17.    “Defendants” means ICON Clinical Research LLC; The Board of Directors of
                   ICON Clinical Research LLC, The 401(k) Plan Committee of ICON Clinical
                   Research LLC; and John Does 1-30.

          1.18.    “Defense Counsel” means Morgan, Lewis & Bockius LLP.

          1.19.    “Escrow Agent” means JND Legal Administration, or another entity agreed to by
                   the Settling Parties.

          1.20.    “ERISA” means the Employee Retirement Income Security Act of 1974, as
                   amended, 29 U.S.C. § 1001 et seq.

          1.21.    “Fairness Hearing” means the hearing scheduled by the Court to consider (a) any
                   objections by Class Members to the Settlement; (b) Class Counsel’s petition for
                   Attorneys’ Fees and Costs and Class Representatives’ Case Contribution Awards;
                   and (c) whether to finally approve the Settlement under Fed. R. Civ. P. 23(e). The
                   Parties agree that the Fairness Hearing may be conducted telephonically or via
                   videoconferencing.

          1.22.    “Final” means, with respect to any judicial ruling, order, or judgment, that the
                   period for any motions for reconsideration, motions for rehearing, appeals,
                   petitions for certiorari, or the like (“Review Proceeding”) has expired without the
                   initiation of a Review Proceeding, or, if a Review Proceeding has been timely
                   initiated, that it has been fully and finally resolved, either by court action or by
                   voluntary action of any party, without any possibility of a reversal, vacatur, or
                   modification of any judicial ruling, order, or judgment, including the exhaustion
                   of all proceedings in any remand or subsequent appeal and remand. The Settling



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                   Parties agree that absent an appeal or other attempted Review Proceeding, the
                   period after which the Final Order becomes Final is thirty-five (35) calendar days
                   after its entry by the Court.

          1.23.    “Final Order” means the entry of the order and final judgment approving the
                   Settlement Agreement, implementing the terms of this Settlement Agreement, and
                   dismissing the Class Action with prejudice, to be proposed by the Settling Parties
                   for approval by the Court, in substantially the form attached as Exhibit D hereto.

          1.24.    “Former Participant” means a member of the Settlement Class who does not have
                   an Active Account as of March 31, 2022.

          1.25.    “Gross Settlement Amount” means the sum of nine hundred fifty thousand dollars
                   ($950,000), contributed to the Qualified Settlement Fund in accordance with
                   Article 5. Defendants shall cause this amount to be paid directly by their
                   fiduciary liability insurer. The Gross Settlement Amount shall be the full and sole
                   monetary payment to the Settlement Class, Plaintiffs, and Class Counsel made by
                   or on behalf of Defendants in connection with the Settlement effectuated through
                   this Settlement Agreement. Neither Defendants nor their insurer(s) will make any
                   additional payment in connection with the Settlement of the Class Action.

          1.26.    “ICON” means ICON Clinical Research LLC.

          1.27.    “Independent Fiduciary” means an independent fiduciary who will serve as a
                   fiduciary to the Plan to approve and authorize the settlement of Released Claims
                   on behalf of the Plan in accordance with Section 2.1 that has no relationship or
                   interest in any of the Settling Parties.

          1.28.    “Net Settlement Amount” means the Gross Settlement Amount minus (a) all
                   Attorneys’ Fees and Costs paid to Class Counsel as authorized by the Court; (b)
                   all Case Contribution Awards as authorized by the Court; (c) all Administrative
                   Expenses; and (d) a contingency reserve not to exceed an amount to be mutually
                   agreed upon by the Settling Parties that is set aside by the Settlement
                   Administrator for (1) Administrative Expenses incurred before the Settlement
                   Effective Date but not yet paid, (2) Administrative Expenses estimated to be
                   incurred after the Settlement Effective Date, and (3) an amount estimated for
                   adjustments of data or calculation errors.

          1.29.    “Person” means an individual, partnership, corporation, governmental entity or
                   any other form of entity or organization.

          1.30.    “Plaintiffs” means the Class Representatives and each member of the Settlement
                   Class.

          1.31.    “Plan” means the ICON Clinical Research LLC 401(k) Plan, and each of its
                   predecessor plans, successor plans, merged and/or acquired plans, individually
                   and collectively, and any trust created under such plans.


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          1.32.    “Plan of Allocation” means the method of allocating settlement funds to Class
                   Members. A proposed form of the Plan of Allocation is attached hereto as
                   Exhibit B.

          1.33.    “Preliminary Approval Order” means the order of the Court in substantially the
                   form attached hereto as Exhibit C, whereby the Court preliminarily approves this
                   Settlement.

          1.34.    “QDRO” means a Qualified Domestic Relations Order within the meaning of 26
                   U.S.C. § 414(p).

          1.35.    “Qualified Settlement Fund” or “Settlement Fund” means the interest-bearing
                   settlement fund account to be established and maintained by the Escrow Agent in
                   accordance with Article 5 herein and referred to as the Qualified Settlement Fund
                   (within the meaning of Treas. Reg. § 1.468B-1).

          1.36.    “Recordkeeper” means the entity that maintains electronic records of the Plan’s
                   participants and their individual accounts.

          1.37.    “Released Claims” means any and all past, present, and future actual or potential
                   claims (including claims for any and all losses, damages, unjust enrichment,
                   attorneys’ fees, disgorgement, litigation costs, injunction, declaration,
                   contribution, indemnification or any other type or nature of legal or equitable
                   relief), actions, demands, rights, obligations, liabilities, expenses, costs, and
                   causes of action, accrued or not, whether arising under federal, state, or local law,
                   whether by statute, contract, or equity, whether brought in an individual or
                   representative capacity, whether accrued or not, whether known or unknown,
                   suspected or unsuspected, foreseen or unforeseen based in whole or in part on acts
                   or failures to act through the date of the Final Order:

                            That were asserted in the Class Action, or that arise out of, relate to, or
                            are based on any of the allegations, acts, omissions, facts, matters,
                            transactions, or occurrences that were alleged, or could have been
                            alleged, in the operative Complaint filed in the Class Action; and/or

                            That arise out of, relate in any way to, are based on, or have any
                            connection with (a) the selection, oversight, retention, monitoring,
                            compensation, fees, or performance of the Plan’s investment options or
                            service providers; (b) fees, costs, or expenses charged to, paid, or
                            reimbursed by the Plan or any Class Member; (c) disclosures or failures
                            to disclose information regarding the Plan’s investment options, fees, or
                            service providers; (d) the compensation received by the Plan’s service
                            providers; (e) the services provided to the Plan or the costs of those
                            services; (f) the payment of compensation based on a percentage of total
                            assets; (g) the management, oversight or administration of the Plan or its
                            fiduciaries; (h) the use of Plan-related information by any of the Plan’s
                            service providers, including in marketing and selling investment and


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                            wealth management products to the Plan’s participants; or (i) alleged
                            breach of the duty of loyalty, care, prudence, diversification, or any
                            other fiduciary duties or prohibited transactions under ERISA; or

                            That would be barred by res judicata based on entry of the Final Order;
                            or

                            That relate to the direction to calculate, the calculation of, and/or the
                            method or manner of allocation of the Qualified Settlement Fund to the
                            Plan or any Class Member in accordance with the Plan of Allocation; or

                            That relate to the approval by the Independent Fiduciary of the
                            Settlement, unless brought against the Independent Fiduciary alone.

                            The Class Representatives, Class Members, and the Plan expressly
                            waive and relinquish, to the fullest extent permitted by law, any and all
                            provisions, rights, and benefits conferred by Section 1542 of the
                            California Civil Code, which provides that a “general release does not
                            extend to claims which the creditor does not know or suspect to exist in
                            his favor at the time of executing the release, which if known by him
                            must have materially affected his settlement with the debtor,” and any
                            similar state, federal or other law, rule or regulation or principle of
                            common law of any domestic governmental entity.

                            “Released Claims” does not include any claims unrelated to this
                            Settlement that the Class Representatives or the Settlement Class may
                            have to the value of their respective vested account balances under the
                            terms of the Plan and according to the Plan’s records as of the date the
                            Settlement becomes Final.

          1.38.    “Released Parties” means (a) Defendants; (b) Defendants’ insurers, co-insurers,
                   and reinsurers; (c) ICON’s direct and indirect past, present, and future affiliates,
                   parents, subsidiaries, divisions, joint ventures, predecessors, successors,
                   successors-in-interest, assigns, boards of trustees, boards of directors, officers,
                   trustees, directors, partners, agents, managers, members, employees or heirs
                   (including any individuals who serve or served in any of the foregoing capacities,
                   such as members of the boards of trustees or boards of directors that are
                   associated with any of Defendants’ past, present, and future affiliates), and each
                   Person that controls, is controlled by, or is under common control with them; (d)
                   the Plan and the Plan’s current and past fiduciaries, administrators, plan
                   administrators, recordkeepers, service providers, consultants, attorneys, agents,
                   insurers and parties-in-interest; and (e) Defendants’ independent contractors,
                   representatives, attorneys, administrators, insurers, fiduciaries, accountants,
                   auditors, advisors, consultants, personal representatives, spouses, heirs, executors,
                   administrators, associates, employee benefit plan fiduciaries (with the exception
                   of the Independent Fiduciary), employee benefit plan administrators, service
                   providers to the Plan (including their owners and employees), members of their


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                   immediate families, consultants, subcontractors, and all persons acting under, by,
                   through, or in concert with any of them.

          1.39.    “Representatives” shall mean representatives, attorneys, agents, directors,
                   officers, or employees.

          1.40.    “Review Proceeding” shall have the meaning set forth in Section 1.22.

          1.41.    “Settlement” means the settlement to be consummated under this Settlement
                   Agreement and its exhibits, including any modifications or amendments adopted
                   pursuant to Section 14.13.

          1.42.    “Settlement Administrator” means JND Legal Administration, the entity selected
                   and retained by Class Counsel to administer the Settlement and Plan of
                   Allocation.

          1.43.    “Settlement Agreement” means this agreement embodying the terms of the
                   Settlement, including any modifications or amendments hereto.

          1.44.    “Settlement Agreement Execution Date” means the date on which the final
                   signature is applied to this Settlement Agreement.

          1.45.    “Settlement Class” means all persons who participated in the Plan at any time
                   during the Class Period, including any Beneficiary of a deceased Person who
                   participated in the Plan at any time during the Class Period, and any Alternate
                   Payee of a Person subject to a QDRO who participated in the Plan at any time
                   during the Class Period. Excluded from the Settlement Class are Defendants and
                   their Beneficiaries.

          1.46.    “Settlement Effective Date” means the date on which the Final Order is Final,
                   provided that by such date the Settlement has not been terminated in accordance
                   with Article 12.

          1.47.    “Settlement Notice” means the Notice of Class Action Settlement and Fairness
                   Hearing to be sent to Class Members identified by the Settlement Administrator
                   following the Court’s issuance of the Preliminary Approval Order, in substantially
                   the form attached hereto as Exhibit A. The Settlement Notice shall inform Class
                   Members of a Fairness Hearing to be held with the Court, on a date to be
                   determined by the Court, at which any Class Member satisfying the conditions set
                   forth in the Preliminary Approval Order and the Settlement Notice may be heard
                   regarding (a) the terms of the Settlement Agreement; (b) the petition of Class
                   Counsel for award of Attorneys’ Fees and Costs; (c) payment of and reserve for
                   Administrative Expenses; and (d) Class Representatives’ Case Contribution
                   Awards.

          1.48.    “Settling Parties” means the Defendants and the Class Representatives, on behalf
                   of themselves, the Plan, and each of the Class Members.



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          1.49.    “Stipulated Protective Order” means the stipulated protective order that the
                   Settling Parties will submit to the Court to enter as part of this Settlement to
                   ensure the confidentiality and protection of information and data related to Class
                   Members provided during the settlement administration process.

          1.50.    “Successor-In-Interest” shall mean a Person or Party’s estate, legal
                   representatives, heirs, successors or assigns, including successors or assigns that
                   result from corporate mergers or other structural changes.

          1.51.    “Transferor” means ICON, as the “transferor” within the meaning of Treas. Reg.
                   § 1.468B-1(d)(1).

 2.       ARTICLE 2 – REVIEW AND APPROVAL BY INDEPENDENT FIDUCIARY,
          PRELIMINARY SETTLEMENT APPROVAL, AND NOTICE TO THE CLASS

          2.1.     Independent Fiduciary. The Independent Fiduciary, retained by Defendants on
                   behalf of the Plan, shall have the following responsibilities, including whether to
                   approve and authorize the settlement of Released Claims on behalf of the Plan.

                            The Independent Fiduciary shall comply with all relevant conditions set
                            forth in Prohibited Transaction Class Exemption 2003-39, “Release of
                            Claims and Extensions of Credit in Connection with Litigation,” issued
                            December 31, 2003, by the United States Department of Labor, 68 Fed.
                            Reg. 75,632, as amended (“PTE 2003-39”), in making its determination.

                            The Independent Fiduciary shall notify Defendants directly of its
                            determination, in writing (with copies to Class Counsel and Defense
                            Counsel), which notification shall be delivered no later than thirty (30)
                            calendar days before the Fairness Hearing.

                            All fees and expenses associated with the Independent Fiduciary’s
                            determination and performance of its other obligations in connection
                            with the Settlement, up to $25,000, will constitute Administrative
                            Expenses to be deducted from the Gross Settlement Amount.

                            Defendants, Defense Counsel, and Class Counsel shall respond to
                            reasonable requests by the Independent Fiduciary for information so that
                            the Independent Fiduciary can review and evaluate the Settlement
                            Agreement.

                            If Defendants conclude that the Independent Fiduciary’s determination
                            does not comply with PTE 2003-39 or is otherwise deficient, Defendants
                            shall so inform the Independent Fiduciary within fifteen (15) calendar
                            days of receipt of the determination.




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                            A copy of the Independent Fiduciary determination letter and report
                            shall be provided to Class Counsel who may file it with the Court in
                            support of Final approval of the Settlement.

          2.2.     Preliminary Approval. As soon as reasonably possible and subject to any relevant
                   Court Order, the Class Representatives, through Class Counsel, shall file with the
                   Court motions seeking preliminary approval of this Settlement Agreement and for
                   entry of the Preliminary Approval Order in substantially the form attached hereto
                   as Exhibit C. Defendants will not object to these motions. The Preliminary
                   Approval Order to be presented to the Court shall, among other things:

                            Grant the motion to certify the Settlement Class as a non-opt out class
                            for settlement purposes only under Fed. R. Civ. P. 23(b)(1);

                            Approve the text of the Settlement Notice for mailing to Class Members;

                            Determine that under Fed. R. Civ. P. 23(c)(2), the Settlement Notices
                            constitute the best notice practicable under the circumstances, provide
                            due and sufficient notice of the Fairness Hearing and of the rights of all
                            Class Members, and comply fully with the requirements of Fed. R. Civ.
                            P. 23, the Constitution of the United States, and any other applicable
                            law;

                            Cause the Settlement Administrator to send by first-class mail the
                            Settlement Notice to each Class Member identified by the Settlement
                            Administrator based upon the data provided by the Plan’s Recordkeeper;

                            Provide that, pending final determination of whether the Settlement
                            Agreement should be approved, no Class Member may directly, through
                            Representatives, or in any other capacity, commence any action or
                            proceeding in any court or tribunal asserting any of the Released Claims
                            against Defendants, the Released Parties, and/or the Plan;

                            Set the Fairness Hearing for no sooner than one hundred twenty (120)
                            calendar days after the date the motion for entry of the Preliminary
                            Approval Order is filed, in order to determine whether (a) the Court
                            should approve the Settlement as fair, reasonable, and adequate; (b) the
                            Court should enter the Final Order; and (c) the Court should approve the
                            application for Attorneys’ Fees and Costs, Class Representatives’ Case
                            Contribution Awards, Administrative Expenses incurred to date, and a
                            reserve for anticipated future Administrative Expenses;

                            Provide that any objections to any aspect of the Settlement Agreement
                            shall be heard, and any papers submitted in support of said objections
                            shall be considered, by the Court at the Fairness Hearing if they have
                            been filed validly with the Clerk of the Court and copies provided to
                            Class Counsel and Defense Counsel. To be filed validly, the objection


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                            and any notice of intent to participate or supporting documents must be
                            filed at least thirty (30) calendar days prior to the scheduled Fairness
                            Hearing. Any Person wishing to speak at the Fairness Hearing shall file
                            and serve a notice of intent to participate within the time limitation set
                            forth above;

                            Provide that any party may file a response to an objection by a Class
                            Member;

                            Provide that the Fairness Hearing may, without further direct notice to
                            the Class Members, other than by notice to Class Counsel, be adjourned
                            or continued by order of the Court; and

                            Approve the form of the CAFA Notice attached as Exhibit E and order
                            that upon mailing of the CAFA Notices, Defendants shall have fulfilled
                            their obligations under CAFA.

          2.3.     Settlement Administrator. Defendants and Defense Counsel shall use reasonable
                   efforts to respond timely to written requests, including by e-mail, from the
                   Settlement Administrator for readily accessible data that is reasonably necessary
                   to determine the feasibility of administering the Plan of Allocation or to
                   implement the Plan of Allocation. The actual and reasonable expenses of any
                   third party, including the Plan’s Recordkeeper, that are necessary to perform such
                   work shall be Administrative Expenses to be deducted from the Gross Settlement
                   Amount.

                            The Settlement Administrator must agree to be bound by the Stipulated
                            Protective Order and any further non-disclosure or security protocol
                            required by the Settling Parties.

                            The Settlement Administrator shall use the data provided by Defendants
                            and the Plan’s Recordkeeper solely for the purpose of meeting its
                            obligations as Settlement Administrator, and for no other purpose.

                            At the request of the Settling Parties, the Settlement Administrator shall
                            provide a written protocol addressing how the Settlement Administrator
                            will maintain and store information provided to it in order to ensure that
                            reasonable and necessary precautions are taken to safeguard the privacy
                            and security of such information.

          2.4.     Settlement Notice. By the date and in the manner set by the Court in the
                   Preliminary Approval Order, and unless otherwise set forth below, the Settlement
                   Administrator shall cause to be sent to each Class Member identified by the
                   Settlement Administrator a Settlement Notice in the form and manner to be
                   approved by the Court, which shall be in substantially the form attached hereto as
                   Exhibit A or a form subsequently agreed to by the Settling Parties and approved
                   by the Court. The Settlement Administrator shall use commercially reasonable


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                   efforts to locate any Class Member whose Settlement Notice is returned and re-
                   send such documents one additional time.

          2.5.     CAFA Notice. No later than ten (10) calendar days after the filing of the motion
                   for preliminary approval of the Settlement, Defendants will prepare and serve the
                   CAFA Notice in substantially the form attached as Exhibit E hereto on the
                   Attorney General of the United States, the Secretary of the Department of Labor,
                   and the attorneys general of all states in which Class Members reside, as specified
                   by 28 U.S.C. § 1715. In the event that the Preliminary Approval Order provides
                   for any modifications to the CAFA Notice, then the Settlement Administrator (or
                   other entity selected by the Parties) will prepare and serve supplemental or
                   amended CAFA Notice(s) as appropriate.

 3.       ARTICLE 3 – FINAL SETTLEMENT APPROVAL

          3.1.     No later than thirty (30) days before the date for filing Objections set in the
                   Preliminary Approval Order, Class Counsel shall submit to the Court a motion for
                   entry of the Final Order (Exhibit D) in the form approved by Class Counsel and
                   Defense Counsel, which shall request approval by the Court of the terms of this
                   Settlement Agreement and entry of the Final Order in accordance with this
                   Settlement Agreement. The Final Order as proposed by the Settling Parties shall
                   provide for the following, among other things, as is necessary to carry out the
                   Settlement consistent with applicable law and governing Plan documents:

                            Approval of the Settlement of the Released Claims covered by this
                            Settlement Agreement adjudging the terms of the Settlement Agreement
                            to be fair, reasonable, and adequate to the Plan and the Class Members
                            and directing the Settling Parties to take the necessary steps to effectuate
                            the terms of the Settlement Agreement;

                            A determination under Fed. R. Civ. P. 23(c)(2) that the Settlement
                            Notice constitutes the best notice practicable under the circumstances
                            and that due and sufficient notice of the Fairness Hearing and the rights
                            of all Class Members has been provided;

                            Dismissal with prejudice of the Class Action and all Released Claims
                            asserted therein whether asserted by Class Representatives on their own
                            behalf or on behalf of the Class Members, or on behalf of the Plan,
                            without costs to any of the Settling Parties other than as provided for in
                            this Settlement Agreement;

                            That the Plan and each Class Member (and their respective heirs,
                            beneficiaries, executors, administrators, estates, past and present
                            partners, officers, directors, agents, attorneys, predecessors, successors,
                            and assigns) shall be (a) conclusively deemed to have, and by operation
                            of the Final Order shall have, fully, finally, and forever settled, released,
                            relinquished, waived, and discharged the Released Parties from all


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                      Released Claims; and (b) barred and enjoined from suing the Released
                      Parties in any action or proceeding alleging any of the Released Claims.

                      That each Class Member shall release the Released Parties, Defense
                      Counsel, and Class Counsel for any claims, liabilities, and attorneys’
                      fees and expenses arising from the allocation of the Gross Settlement
                      Amount or Net Settlement Amount and for all tax liability and
                      associated penalties and interest as well as related attorneys’ fees and
                      expenses;

                      That the provisions of Sections 3.1.4 and 3.1.5 shall apply even if any
                      Class Member may thereafter discover facts in addition to or different
                      from those which the Class Members or Class Counsel now know or
                      believe to be true with respect to the Class Action and the Released
                      Claims, whether or not such Class Members receive a monetary benefit
                      from the Settlement, whether or not such Class Members actually
                      received the Settlement Notice, whether or not such Class Members
                      have filed an objection to the Settlement or to any application by Class
                      Counsel for an award of Attorneys’ Fees and Costs, and whether or not
                      the objections or claims for distribution of such Class Members have
                      been approved or allowed;

                      That all applicable CAFA requirements have been satisfied;

                      That the Settlement Administrator shall have final authority to determine
                      the share of the Net Settlement Amount to be allocated to each Class
                      Member in accordance with the Plan of Allocation approved by the
                      Court;

                      That, with respect to any matters that arise concerning the
                      implementation of distributions to Class Members who are current
                      participants in the Plan (after allocation decisions have been made by the
                      Settlement Administrator in its sole discretion pursuant to the Plan of
                      Allocation), all questions not resolved by the Settlement Agreement
                      shall be resolved by the Plan administrator or other fiduciaries of the
                      Plan, in accordance with applicable law and the governing terms of the
                      Plan; and

                      That within twenty-one (21) calendar days following the issuance of all
                      settlement payments to Class Members as provided by the Plan of
                      Allocation approved by the Court, the Settlement Administrator shall
                      prepare and provide to Class Counsel and Defense Counsel a list of each
                      Person who received a settlement payment or contribution from the
                      Qualified Settlement Fund and the amount of such payment or
                      contribution.




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          3.2.     The Final Order and judgment entered by the Court approving the Settlement
                   Agreement shall provide that upon its entry, all Settling Parties, the Settlement
                   Class and the Plan shall be bound by the Settlement Agreement and the Final
                   Order.

 4.       ARTICLE 4 – ESTABLISHMENT OF QUALIFIED SETTLEMENT FUND

          4.1.     No later than ten (10) business days after the Preliminary Approval Order is
                   issued, the Settlement Administrator shall establish the Qualified Settlement Fund
                   with the Escrow Agent. The Settling Parties agree that the Qualified Settlement
                   Fund is intended to be, and will be, an interest-bearing “qualified settlement fund”
                   within the meaning of Section 468B of the Code and Treas. Reg. § 1.468B-1. In
                   addition, the Settlement Administrator shall timely make such elections as
                   necessary or advisable to carry out the provisions of this Section 4.1. If
                   applicable, the Settlement Administrator (as the “administrator” pursuant to
                   Section 4.2) and the Transferor shall fully cooperate in filing the “relation-back
                   election” (as defined in Treas. Reg. § 1.468B-1(j)(2)) to treat the Qualified
                   Settlement Fund as coming into existence as a “qualified settlement fund” within
                   the meaning of Section 468B of the Code and Treas. Reg. § 1.468B-1 as of the
                   earliest permitted date. Such elections shall be made in compliance with the
                   procedures and requirements contained in such regulations. It shall be the
                   responsibility of the Settlement Administrator to prepare and deliver, in a timely
                   and proper manner, the necessary documentation for signature by all necessary
                   parties, and thereafter to cause the appropriate filing to be timely made.

          4.2.     The “administrator” within the meaning of Treas. Reg. § 1.468B-2(k)(3) shall be
                   the Settlement Administrator. The Settlement Administrator shall timely and
                   properly cause to be filed on behalf of the Qualified Settlement Fund all
                   informational and other tax returns required to be filed in accordance with Treas.
                   Reg. §§ 1.468B-2(k) and -2(l) with respect to the Gross Settlement Amount
                   (including without limitation applying for a taxpayer identification number for the
                   Qualified Settlement Fund pursuant to Internal Revenue Service Form SS-4 and
                   in accordance with Treas. Reg. § 1.468B-2(k)(4)). Such returns as well as any
                   election described in Section 4.1 shall be consistent with this Article 4 and, in all
                   events, shall reflect that all taxes (including any estimated taxes, interest, or
                   penalties) on the income earned by the Qualified Settlement Fund shall be
                   deducted and paid from the Gross Settlement Amount as provided in Section 4.3.

          4.3.     Taxes and tax expenses are Administrative Expenses to be deducted and paid
                   from the Gross Settlement Amount, including but not limited to: (a) all taxes
                   (including any estimated taxes, interest, or penalties) arising with respect to the
                   income earned by the Gross Settlement Amount, including any taxes or tax
                   detriments that may be imposed upon Defendants with respect to any income
                   earned by the Gross Settlement Amount for any period during which the Gross
                   Settlement Fund does not qualify as a “qualified settlement fund” within the
                   meaning of Section 468B of the Code and Treas. Reg. § 1.468B-1; and (b) all tax
                   expenses and costs incurred in connection with the operation and implementation


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                   of this Article 4 (including, without limitation, expenses of tax attorneys and/or
                   accountants and mailing and distribution costs and expenses relating to filing (or
                   failing to file) the returns described in this Article 4). Such taxes and tax
                   expenses shall be Administrative Expenses and shall be paid timely by the
                   Settlement Administrator out of the Gross Settlement Amount without prior order
                   from the Court. The Settlement Administrator shall ensure compliance with
                   withholding and reporting requirements in accordance with Treas. Reg. § 1.468B-
                   2(l) and shall be obligated (notwithstanding anything herein to the contrary) to
                   withhold from distribution to any Class Member any funds necessary to pay such
                   amounts, including the establishment of adequate reserves for any taxes and tax
                   expenses; neither the Released Parties, Defense Counsel, nor Class Counsel are
                   responsible nor shall they have any liability therefor. The Settling Parties agree to
                   cooperate with the Settlement Administrator, Escrow Agent, each other, and their
                   tax attorneys and accountants to the extent reasonably necessary to carry out the
                   provisions of this Article 4.

          4.4.     Within twenty-one (21) calendar days after the later of (a) the date the
                   Preliminary Approval Order is entered, or (b) the date the Qualified Settlement
                   Fund is established and the Settlement Administrator (or Class Counsel) has
                   furnished to Defendants and/or Defense Counsel in writing the Qualified
                   Settlement Fund name, IRS W-9 Form, and all necessary wiring instructions, then
                   the Transferor shall cause its insurer(s) to deposit one hundred thousand dollars
                   ($100,000) into the Qualified Settlement Fund as the first installment of the Gross
                   Settlement Amount.

          4.5.     Within ten (10) business days after the Settlement Effective Date, the Transferor
                   shall cause its insurer(s) to deposit the remainder of the Gross Settlement
                   Amount, which is eight hundred fifty thousand dollars ($850,000), into the
                   Qualified Settlement Fund.

          4.6.     The Settlement Administrator shall, at the written direction of Class Counsel,
                   cause the Escrow Agent to invest the Qualified Settlement Fund in short-term
                   United States Agency or Treasury Securities or other instruments backed by the
                   Full Faith and Credit of the United States Government or an agency thereof, or
                   fully insured by the United States Government or an agency thereof, and shall
                   cause the Escrow Agent to reinvest the proceeds of these investments as they
                   mature in similar instruments at their then-current market rates.

          4.7.     The Settlement Administrator shall not disburse the Gross Settlement Amount or
                   any portion thereof from the Qualified Settlement Fund except as provided in this
                   Settlement Agreement, in an order of the Court, or in a subsequent written
                   stipulation between Class Counsel and Defense Counsel. Subject to the orders of
                   the Court, the Settlement Administrator is authorized to execute such transactions
                   as are consistent with the terms of this Settlement Agreement.

          4.8.     The Settlement Administrator shall be responsible for making provision for the
                   payment from the Qualified Settlement Fund of all taxes and tax expenses, if any,


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                   owed with respect to the Qualified Settlement Fund, and for all tax reporting,
                   remittance, and/or withholding obligations, if any, for amounts distributed from it.
                   The Released Parties, Defense Counsel, and/or Class Counsel have no
                   responsibility or any liability for any taxes or tax expenses owed by, or any tax
                   reporting or withholding obligations, if any, of the Qualified Settlement Fund.

          4.9.     No later than February 15 of the year following the calendar year in which
                   Defendants, their insurer(s), or agents make any transfer to the Qualified
                   Settlement Fund pursuant to the terms of this Article 4, Defendants, their insurers,
                   or agents shall timely furnish a statement to the Settlement Administrator that
                   complies with Treas. Reg. § 1.468B-3(e)(2), which may be a combined statement
                   under Treas. Reg. § 1.468B-3(e)(2)(ii), and shall attach a copy of the statement to
                   its federal income tax return filed for the taxable year in which Defendants, their
                   insurers, or agents makes a transfer on its behalf to the Qualified Settlement Fund.

 5.       PAYMENTS FROM THE QUALIFIED SETTLEMENT FUND

          5.1.     Disbursements from Qualified Settlement Fund prior to Settlement Effective
                   Date. Class Counsel, subject to the approval of Defendants, which approval shall
                   not be unreasonably withheld, shall direct the Escrow Agent to disburse money
                   from the Qualified Settlement Fund as follows:

                            Settlement Notice Expenses. After entry of the Preliminary Approval
                            Order, the Escrow Agent shall be directed in writing to disburse from the
                            Qualified Settlement Fund an amount sufficient for the payment of costs
                            of the Settlement Notice. Class Counsel has selected the Settlement
                            Administrator to assist with Class Notice, and Defendants agreed to this
                            selection. The Settlement Administrator shall enter into a confidentiality
                            agreement and information security agreement to adequately protect
                            information provided to the Settlement Administrator relating to the
                            Settlement. Any costs, expenses, or fees incurred in connection with the
                            administration of this Settlement shall be paid out of the Qualified
                            Settlement Fund. Neither Defendants nor Defense Counsel are
                            responsible for the Settlement Administrator’s work, nor may they be
                            held liable for any act or omission by the Settlement Administrator.

                            For taxes and expenses of the Qualified Settlement Fund as provided in
                            Section 4.3.

                            For fees and expenses of the Independent Fiduciary. The Escrow Agent
                            shall be directed to disburse money from the Qualified Settlement Fund
                            to pay the reasonable fees and expenses of the Independent Fiduciary,
                            retained pursuant to Article 2.1, in an amount not to exceed $25,000. To
                            the extent Defendants and/or their insurer(s) pay any costs, fees or
                            expenses to the Independent Fiduciary before proceeds from the
                            Qualified Settlement Fund are available for distribution, the Escrow



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                           Agent shall be directed to reimburse Defendants and/or their insurer(s)
                           for such amounts.

                           For costs and expenses of the Settlement Administrator in implementing
                           the Plan of Allocation and otherwise administering the Settlement.

                           For costs and expenses incurred by the Recordkeeper (or Authorized
                           Administrator) in implementing this Settlement. To the extent
                           Defendants are responsible for paying these costs, they will have the
                           right to recover any sums paid from the Qualified Settlement Fund.

          5.2.     Following the payment of the second installment of the Gross Settlement Amount
                   as set forth in Section 4.5, Class Counsel shall direct the Escrow Agent to
                   disburse money from the Qualified Settlement Fund as follows:

                           For Attorneys’ Fees and Costs, as approved by the Court, and within ten
                           (10) business days of the Settlement Effective Date. The Court’s failure
                           to approve in part any application for Attorneys’ Fees and Costs sought
                           by Class Counsel shall not prevent the Settlement Agreement from
                           becoming effective, nor shall it be grounds for termination of the
                           Settlement. In the event that the Settlement Agreement does not become
                           effective, or the judgment or the order making the fee and cost award is
                           reversed or modified, or the Settlement Agreement is canceled or
                           terminated for any other reason, and such reversal, modification,
                           cancellation or termination becomes Final and not subject to review, and
                           in the event that the fee and cost award has been paid to any extent, then
                           Class Counsel with respect to the entire fee and cost award shall within
                           thirty (30) business days from receiving notice from the Defendants’
                           counsel or from a court of appropriate jurisdiction, refund to the
                           Qualified Settlement Fund such fees and expenses previously paid to it
                           from the Qualified Settlement Fund plus interest thereon at the same rate
                           as earned on the Qualified Settlement Fund in an amount consistent with
                           such reversal or modification. Class Counsel, as a condition of receiving
                           such fees and costs, on behalf of itself and each partner and/or
                           shareholder of it, agrees that the law firm and its partners and/or
                           shareholders are subject to the jurisdiction of the Court for the purpose
                           of enforcing the provisions of this paragraph. Class Counsel and
                           Defendants each agree to pay or reimburse the other party for attorneys’
                           fees and expenses such other party is required to incur by reason of any
                           formal motion, suit, or action brought to enforce this Paragraph 5.3 of
                           the Settlement Agreement.

                           For Class Representatives’ Case Contribution Awards, as approved by
                           the Court, and no later than fifteen (15) business days following the
                           Settlement Effective Date.




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                            For costs and expenses of the Settlement Administrator in implementing
                            the Plan of Allocation and otherwise administering the Settlement that
                            were not previously paid.

                            For costs and expenses incurred by the Recordkeeper (or Authorized
                            Administrator) in implementing this Settlement that were not previously
                            paid. To the extent that Defendants are responsible for paying these
                            costs, they will have the right to recover any sums paid from the
                            Qualified Settlement Fund.

                            The Net Settlement Amount will be distributed in accordance with the
                            Plan of Allocation. Pending final distribution of the Net Settlement
                            Amount in accordance with the Plan of Allocation, the Escrow Agent
                            will maintain the Qualified Settlement Fund.

          5.3.     Implementation of the Plan of Allocation. Class Counsel shall propose to the
                   Court a Plan of Allocation, in substantial conformity to the one attached hereto as
                   Exhibit B, which shall provide for the calculation, allocation, and distribution of
                   the Net Settlement Amount. The Settlement Administrator shall be exclusively
                   responsible and liable for calculating the amounts payable to the Class Members
                   pursuant to the Plan of Allocation. Upon the Settlement Effective Date, and after
                   the amounts payable pursuant to Sections 5.1 and 5.2 have been disbursed, or, in
                   the case of future estimated expenses set aside and withheld, Class Counsel shall
                   direct the Escrow Agent to disburse the Net Settlement Amount as provided by
                   this Settlement Agreement and the Plan of Allocation. The Recordkeeper or any
                   other entity with appropriate authority under the Plan (an “Authorized
                   Administrator”) shall allocate to the Plan accounts of Class Members who are not
                   Former Participants any Net Settlement Amount as calculated by the Settlement
                   Administrator according to the Plan of Allocation, documentation of which Class
                   Counsel shall direct the Settlement Administrator to provide to the Authorized
                   Administrator pursuant to the Plan of Allocation no later than the distribution of
                   the Net Settlement Amount. The Settlement Administrator shall promptly notify
                   Class Counsel as to the date(s) and amounts(s) of said allocation(s) made to Class
                   Members who are not Former Participants. The Settlement Administrator shall be
                   responsible for distributing the Net Settlement Amount allocated to the Former
                   Participants as provided by the Plan of Allocation, as well as complying with all
                   tax laws, rules, and regulations and withholding obligations with respect to
                   Former Participants. Defendants shall have no liability related to the structure or
                   taxability of such payments. Nothing herein shall constitute approval or
                   disapproval of the Plan of Allocation by Defendants, and Defendants shall have
                   no responsibility or liability for the Plan of Allocation and shall take no position
                   for or against the Plan of Allocation.

          5.4.     The Net Settlement Amount distributed pursuant to the Plan of Allocation shall
                   constitute “restorative payments” within the meaning of Revenue Ruling 2002-45
                   for all purposes.



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          5.5.     Final List of Class Members. Prior to the disbursement of the Net Settlement
                   Amount to the Plan, the Settlement Administrator shall provide to Defense
                   Counsel and Class Counsel a final list of Class Members, in electronic format, to
                   whom the Net Settlement Amount will be distributed in accordance with the Plan
                   of Allocation. Such list shall be final, and only persons on the list or their
                   Beneficiaries or Alternate Payees shall be eligible to receive any recovery from
                   this Settlement.

          5.6.     After the distribution of the Net Settlement Amount and allocation of the Net
                   Settlement Amount pursuant to the Plan of Allocation, amounts allocable to Class
                   Members who cannot be located or otherwise cannot receive their Settlement
                   payment shall be forwarded to the Plan’s trust and then be subject to the Plan’s
                   forfeiture provisions, if any, at the time of receipt by the Trust.

 6.       ARTICLE 6 – ATTORNEYS’ FEES AND EXPENSES

          6.1.     Application for Attorneys’ Fees and Expenses and Class Representatives’ Case
                   Contribution Awards. Class Counsel intends to seek to recover their attorneys’
                   fees not to exceed $316,635.00, and litigation costs and expenses advanced and
                   carried by Class Counsel for the duration of the Class Action, not to exceed
                   $50,000.00, which shall be recovered from the Gross Settlement Amount. Class
                   Counsel also intends to seek Class Representatives’ Case Contribution Awards, in
                   an amount not to exceed $10,000 each for Class Representatives Plaintiffs Carlos
                   O. Nesbeth, Amit Godambe, Jenny Gallery, Mistry Howell and Micah Webb,
                   which shall be recovered from the Gross Settlement Amount.

          6.2.     Class Counsel will file a motion for an award of Attorneys’ Fees and Costs at
                   least thirty (30) calendar days before the deadline set in the Preliminary Approval
                   Order for objections to the proposed Settlement, which may be supplemented
                   thereafter.

 7.       ARTICLE 7 – RELEASE AND COVENANT NOT TO SUE

          7.1.     As of the Settlement Effective Date, the Plan (subject to Independent Fiduciary
                   approval as required by Section 2.1) and the Class Members (and their respective
                   heirs, beneficiaries, executors, administrators, estates, past and present partners,
                   officers, directors, agents, attorneys, predecessors, successors, and assigns), on
                   their own behalf and on behalf of the Plan, shall fully, finally, and forever settle,
                   release, relinquish, waive, and discharge all Released Parties from the Released
                   Claims, whether or not such Class Members have received or will receive a
                   monetary benefit from the Settlement, whether or not such Class Members have
                   actually received the Settlement Notice, whether or not such Class Members have
                   filed an objection to the Settlement or to any application by Class Counsel for an
                   award of Attorneys’ Fees and Costs, and whether or not the objections or claims
                   for distribution of such Class Members have been approved or allowed.




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          7.2.     As of the Settlement Effective Date, the Class Representatives, the Class
                   Members and the Plan (subject to Independent Fiduciary approval as required by
                   Section 2.1), expressly agree that they, acting individually or together, or in
                   combination with others, shall not sue or seek to institute, maintain, prosecute,
                   argue, or assert in any action or proceeding (including but not limited to an IRS
                   determination letter proceeding, a Department of Labor proceeding, an arbitration
                   or a proceeding before any state insurance or other department or commission),
                   any cause of action, demand, or claim on the basis of, connected with, or arising
                   out of any of the Released Claims. Nothing herein shall preclude any action to
                   enforce the terms of this Settlement Agreement in accordance with the procedures
                   set forth in this Settlement Agreement.

          7.3.     Class Counsel, the Class Representatives, Class Members, or the Plan may
                   hereafter discover facts in addition to or different from those that they know or
                   believe to be true with respect to the Released Claims. Such facts, if known by
                   them, might have affected the decision to settle with the Released Parties, or the
                   decision to release, relinquish, waive, and discharge the Released Claims, or the
                   decision of a Class Member not to object to the Settlement. Notwithstanding the
                   foregoing, each Class Member and the Plan shall expressly, upon the entry of the
                   Final Order, be deemed to have, and, by operation of the Final Order, shall have
                   fully, finally, and forever settled, released, relinquished, waived, and discharged
                   any and all Released Claims. The Class Representatives, Class Members and the
                   Plan acknowledge and shall be deemed by operation of the Final Order to have
                   acknowledged that the foregoing waiver was bargained for separately and is a key
                   element of the Settlement embodied in this Settlement Agreement of which this
                   release is a part.

          7.4.     Each Class Representative, each Class Member, and the Plan hereby stipulate and
                   agree with respect to any and all Released Claims that, upon entry of the Final
                   Order, the Class Members shall be conclusively deemed to, and by operation of
                   the Final Order shall, settle, release, relinquish, waive, and discharge any and all
                   rights or benefits they may now have, or in the future may have, under any law
                   relating to the releases of unknown claims pertaining specifically to Section 1542
                   of the California Civil Code, which provides:

                          A general release does not extend to claims which the creditor or
                          releasing party does not know or suspect to exist in his or her favor
                          at the time of executing the release and that, if known by him or
                          her, would have materially affected his or her settlement with the
                          debtor or released party.

                   Also, the Class Representatives, Class Members and the Plan shall, upon entry of
                   the Final Order with respect to the Released Claims, waive any and all provisions,
                   rights and benefits conferred by any law or of any State or territory within the
                   United States or any foreign country, or any principle of common law, which is
                   similar, comparable or equivalent in substance to Section 1542 of the California
                   Civil Code.


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          7.5.     Dismissal With Prejudice. The Class Action and all Released Claims shall be
                   dismissed with prejudice.

          7.6      No Impact on Prior Releases. The Released Claims in the Class Action shall not
                   invalidate or impair any prior release of claims by any Class Members against any
                   of the Released Parties.

 8.       ARTICLE 8 – COVENANTS

          The Settling Parties covenant and agree as follows:

          8.1.     Taxation. Plaintiffs acknowledge that the Released Parties have no responsibility
                   for any taxes due on funds deposited in or distributed from the Qualified
                   Settlement Fund or that the Plaintiffs or Class Counsel receive from the Gross
                   Settlement Amount. Plaintiffs further acknowledge that any such tax payments,
                   and any professional, administrative, or other expenses associated with such tax
                   payments, shall be paid out of the Qualified Settlement Fund. Nothing herein
                   shall constitute an admission or representation that any such taxes will or will not
                   be due.

          8.2.     Cooperation. ICON and Defense Counsel shall cooperate with Class Counsel by
                   using reasonable efforts to provide, to the extent reasonably accessible,
                   information to identify Class Members and to implement the Plan of Allocation.

                            ICON or Defense Counsel shall work with the Recordkeeper to provide
                            to the Settlement Administrator and/or Class Counsel within ten (10)
                            business days of entry of the Preliminary Approval Order: (1) the names,
                            last known addresses, and email addresses to the extent available, of
                            members of the Settlement Class, as compiled from reasonably
                            accessible electronic records maintained by the Recordkeeper; (2) the
                            social security numbers of Settlement Class members in order for the
                            Settlement Administrator to perform a National Change of Address
                            search to update out-of-date addresses; and (3) Plan participant data
                            necessary to perform calculations pursuant to the Plan of Allocation.
                            With respect to the Plan of Allocation data, the Plan’s Recordkeeper
                            shall take commercially reasonable steps to ensure the data provided is
                            complete as it exists in the Recordkeeper’s systems. Neither Plaintiffs,
                            Class Counsel, Defendants, or Defense Counsel will be responsible or
                            liable in any way for ensuring the completeness or accuracy of the
                            information provided by the Recordkeeper pursuant to this section.

                            The Settlement Administrator shall use the information provided
                            through this Section to compile a preliminary list of Class Members for
                            purposes of sending the Class Notice and calculating payments pursuant
                            to the Plan of Allocation.




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                            Class Counsel and their agents will use any information provided by
                            Defendants, Defense Counsel, and/or the Recordkeeper pursuant to
                            Section 8.2 solely for the purpose of providing notice and administering
                            this Settlement and for no other purpose, and will take all reasonable and
                            necessary steps as required by law to maintain the security and
                            confidentiality of this information.

          8.3.     The Settling Parties shall reasonably cooperate with each other to effectuate this
                   Settlement, including with respect to the Plan of Allocation, and shall not do
                   anything or take any position inconsistent with obtaining a prompt Final Order
                   approving the Settlement unless expressly permitted by this Settlement
                   Agreement. The Settling Parties shall suspend any and all efforts to prosecute and
                   to defend the Class Action pending entry of the Final Order or, if earlier,
                   termination of the Settlement Agreement.

 9.       ARTICLE 9 – REPRESENTATION AND WARRANTIES

          9.1.     Settling Parties’ Representations and Warranties. The Settling Parties, and each
                   of them, represent and warrant as follows, and each Settling Party acknowledges
                   that each other Settling Party is relying on these representations and warranties in
                   entering into this Settlement Agreement:

                            That they have diligently prepared the case pursuant to the Court’s
                            orders; that they are voluntarily entering into this Settlement Agreement
                            as a result of arm’s length negotiations; that in executing this Settlement
                            Agreement they are relying solely upon their own judgment, belief and
                            knowledge, and the advice and recommendations of their own
                            independently selected counsel, concerning the nature, extent, and
                            duration of their rights and claims hereunder and regarding all matters
                            which relate in any way to the subject matter hereof; and that, except as
                            provided herein, they have not been influenced to any extent whatsoever
                            in executing this Settlement Agreement by any representations,
                            statements, or omissions pertaining to any of the foregoing matters by
                            any Settling Party or by any Person representing any Settling Party to
                            this Settlement Agreement. Each Settling Party assumes the risk of
                            mistake as to facts or law. Each Settling Party further recognizes that
                            additional evidence may have come to light, but that they nevertheless
                            desire to avoid the expense and uncertainty of litigation by entering into
                            the Settlement.

                            That they have carefully read the contents of this Settlement Agreement,
                            and this Settlement Agreement is signed freely by each Person executing
                            this Settlement Agreement on behalf of each of the Settling Parties. The
                            Settling Parties, and each of them, further represent and warrant to each
                            other that he, she, or it has made such investigation of the facts
                            pertaining to the Settlement, this Settlement Agreement, and all of the
                            matters pertaining thereto, as he, she, or it deems necessary.


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          9.2.     Signatories’ Representations and Warranties. Each Person executing this
                   Settlement Agreement on behalf of any other Person does hereby personally
                   represent and warrant to the other Settling Parties that he or she has the authority
                   to execute this Settlement Agreement on behalf of, and fully bind, each principal
                   whom such individual represents or purports to represent.

 10.      ARTICLE 10 – NO ADMISSION OF LIABILITY

          10.1.    The Settling Parties understand and agree that this Settlement Agreement
                   embodies a compromise settlement of disputed claims, and that nothing in this
                   Settlement Agreement, including the furnishing of consideration for this
                   Settlement Agreement, shall be deemed to constitute any finding, admission or
                   suggestion of any wrongdoing or liability by any Defendants, or give rise to any
                   inference of wrongdoing or admission of wrongdoing or liability in this or any
                   other proceeding, including, but not limited to, any finding that any party had a
                   fiduciary status under ERISA, or any wrongdoing by any of Defendants, or give
                   rise to any inference of fiduciary status under ERISA or wrongdoing or admission
                   of wrongdoing or liability in this or any other proceeding.

          10.2.    This Settlement Agreement and the payments made hereunder are made in
                   compromise of disputed claims and are not admissions of any liability of any
                   kind, whether legal or factual. Defendants specifically deny any such liability or
                   wrongdoing and state that they are entering into this Settlement Agreement to
                   eliminate the burden and expense of further litigation. Further, the Class
                   Representatives, while believing that the claims brought in the Class Action have
                   merit, have concluded that the terms of this Settlement Agreement are fair,
                   reasonable, and adequate to the Plan, themselves and members of the Settlement
                   Class given, among other things, the inherent risks, difficulties and delays in
                   complex ERISA litigation such as the Class Action. Neither the fact nor the terms
                   of this Settlement Agreement shall be used or offered or received in evidence in
                   any action or proceeding for any purpose, except in an action or proceeding to
                   enforce this Settlement Agreement or arising out of or relating to the Final Order.

 11.      ARTICLE 11 – CONDITIONS TO FINALITY OF SETTLEMENT

         This Settlement shall be contingent upon each of the following conditions in this Article
 11 being satisfied. The Settling Parties agree that if any of these conditions is not satisfied, then
 this Settlement Agreement is terminated (subject to Defendants’ right to waive the condition set
 forth in Section 11.4) and the Class Action will, for all purposes with respect to the Settling
 Parties, revert to its status as of the Settlement Agreement Execution Date. In such event,
 Defendants will not be deemed to have consented to the class certification order referenced in
 Section 11.1, the agreements and stipulations in this Settlement Agreement concerning class
 definition or class certification shall not be used as evidence or argument to support a motion for
 class certification, and Defendants will retain all rights with respect to challenging class
 certification.




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          11.1.    Court Approval and Class Certification for Settlement Purposes. The Court shall
                   have certified the Settlement Class for settlement purposes only (and Defendants
                   will not object to this certification for settlement purposes only), the Settlement
                   shall have been approved by the Court, the Court shall have entered the Final
                   Order substantially in the form attached as Exhibit D hereto, and the Settlement
                   Effective Date shall have occurred.

          11.2.    Finality of Settlement. The Settlement shall have become Final.

          11.3.    Resolution of CAFA Objections (If Any). In the event that any of the government
                   officials who received a CAFA Notice object to and request modifications to the
                   Settlement, Class Representatives and Class Counsel agree to cooperate and work
                   with Defendants and Defense Counsel to overcome such objection(s) and
                   requested modifications. In the event such objection(s) or requested
                   modifications are not overcome, Defendants shall have the right to terminate the
                   Settlement Agreement pursuant to Article 12.

          11.4.    Settlement Authorized by Independent Fiduciary. At least thirty (30) days before
                   the Fairness Hearing, the Independent Fiduciary shall have approved and
                   authorized in writing the Settlement, and given a release to all of the Released
                   Parties in its capacity as fiduciary of the Plan for and on behalf of the Plan in
                   accordance with PTE 2003-39. If the Independent Fiduciary disapproves or
                   otherwise does not authorize the Settlement or refuses to execute the release on
                   behalf of the Plan, then ICON shall have the option to waive this condition, in
                   which case such option is to be exercised in writing within ten (10) business days
                   after the Settling Parties’ receipt of the Independent Fiduciary’s written
                   determination, unless otherwise agreed by the Settling Parties.

 12.      ARTICLE 12 – TERMINATION, CONDITIONS OF SETTLEMENT, AND
          EFFECT OF DISAPPROVAL, CANCELLATION, OR TERMINATION

          12.1.    The Settlement Agreement shall automatically terminate, and thereby become null
                   and void with no further force or effect if:

                            Under Section 2.1, (a) either the Independent Fiduciary does not approve
                            the Settlement Agreement or disapproves the Settlement Agreement for
                            any reason whatsoever, or Defendants reasonably conclude that the
                            Independent Fiduciary’s approval does not include the determinations
                            required by the PTE 2003-39; and (b) the Settling Parties do not
                            mutually agree to modify the terms of this Settlement Agreement to
                            facilitate an approval by the Independent Fiduciary or the Independent
                            Fiduciary’s determinations required by PTE 2003-39; and (c) ICON
                            does not exercise their option to waive this condition as provided in
                            Section 11.4;




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                            The Preliminary Approval Order or the Final Order is not entered by the
                            Court in substantially the form submitted by the Settling Parties or in a
                            form which is otherwise agreed to by the Settling Parties;

                            The Settlement Class is not certified as defined herein or in a form
                            which is otherwise agreed to by the Settling Parties;

                            This Settlement Agreement is disapproved by the Court or fails to
                            become effective and the Settling Parties do not mutually agree to
                            modify the Settlement Agreement in order to obtain the Court’s approval
                            or otherwise effectuate the Settlement; or

                            The Preliminary Order or Final Order is finally reversed on appeal, or is
                            modified on appeal, and the Settling Parties do not mutually agree to any
                            such modifications.

          12.2.    If the Settlement Agreement is terminated, deemed null and void, or has no
                   further force or effect, the Class Action and the Released Claims asserted by the
                   Class Representatives shall for all purposes with respect to the Settling Parties
                   revert to their status as though the Settling Parties never executed the Settlement
                   Agreement. All funds deposited in the Qualified Settlement Fund, and any
                   interest earned thereon, shall be returned to Defendants or their insurer(s) within
                   thirty (30) calendar days after the Settlement Agreement is finally terminated or
                   deemed null and void.

          12.3.    It shall not be deemed a failure to approve the Settlement Agreement if the Court
                   denies, in whole or in part, Class Counsel’s request for Attorneys’ Fees and Costs
                   and/or Class Representatives’ Case Contribution Awards and/or modifies any of
                   the proposed orders relating to Attorneys’ Fees and Costs and/or Class
                   Representatives’ Case Contribution Awards.

 13.      ARTICLE 13 – CONFIDENTIALITY OF THE SETTLEMENT NEGOTIATIONS
          AND PERMITTED SETTLEMENT-RELATED COMMUNICATIONS

          13.1.    Except as set forth explicitly below, the Settling Parties, Class Counsel, and
                   Defense Counsel agree to keep confidential all positions, assertions, and offers
                   made during settlement negotiations relating to the Class Action and the
                   Settlement Agreement, except that they may discuss the negotiations with the
                   Class Members, the Independent Fiduciary, and the Settling Parties’ auditors, tax,
                   legal, and regulatory advisors, provided in each case that they (a) secure written
                   agreements with such persons or entities that such information shall not be further
                   disclosed to the extent such persons are not already bound by confidentiality
                   obligations at least as restrictive as those in this Article 13 and which would
                   otherwise cover the Settlement Agreement; and (b) comply with this Article 13 in
                   all other respects.




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          13.2.    Defendants, Class Representatives, Class Counsel, and Defense Counsel agree
                   that they will not at any time make (or encourage or induce others to make) any
                   public statement regarding the Class Action or the Settlement that disparages any
                   Released Party; provided, however, that this prohibition does not preclude Class
                   Counsel from restating the allegations made in the Complaint for purposes of the
                   motion for preliminary approval of the Settlement, motion for final approval of
                   the Settlement, or the request for Attorney’s Fees and Costs, Administrative
                   Expenses, and Class Representative Compensation. This prohibition does not
                   prohibit any Settling Party from making any statements pursuant to a valid legal
                   process, a request by a regulatory agency, or as required by law.

          13.3.    Defendants, Class Representatives, Class Counsel, and Defense Counsel agree
                   that they will not issue any press release regarding the Settlement, advertise the
                   Settlement, or affirmatively contact any media sources regarding the Settlement.

          13.4.    Defendants, Class Representatives, Class Counsel, and Defense Counsel agree
                   that they will not publicly disclose the terms of the Settlement until after the
                   motion for preliminary approval of the Settlement has been filed with the Court,
                   other than as necessary to administer the Settlement, or unless such disclosure is
                   pursuant to a valid legal process, a request by a regulatory agency, or as otherwise
                   required by law, government regulations including corporate reporting
                   obligations, or order of the Court.

 14.      ARTICLE 14 – GENERAL PROVISIONS

          14.1.    The Settling Parties agree to cooperate fully with each other in seeking Court
                   approvals of the Preliminary Approval Order and the Final Order, and to do all
                   things as may reasonably be required to effectuate preliminary and final approval
                   and the implementation of this Settlement Agreement according to its terms. The
                   Settling Parties agree to provide each other with copies of any filings necessary to
                   effectuate this Settlement reasonably in advance of filing.

          14.2.    This Settlement Agreement, whether or not consummated, and any negotiations or
                   proceedings hereunder are not, and shall not be construed as, deemed to be, or
                   offered or received as evidence of an admission by or on the part of any Released
                   Party of any wrongdoing, fault, or liability whatsoever by any Released Party, or
                   give rise to any inference of any wrongdoing, fault, or liability or admission of
                   any wrongdoing, fault, or liability in the Class Action or any other proceeding.

          14.3.    Defendants and Released Parties admit no wrongdoing, fault, or liability with
                   respect to any of the allegations or claims in the Class Action. This Settlement
                   Agreement, whether or not consummated, and any negotiations or proceedings
                   hereunder, shall not constitute admissions of any liability of any kind, whether
                   legal or factual. Subject to Federal Rule of Evidence 408, the Settlement and the
                   negotiations related to it are not admissible as substantive evidence, for purposes
                   of impeachment, or for any other purpose.



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          14.4.    Defendants deny all allegations of wrongdoing. Defendants believe that the Plan
                   has been managed, operated, and administered at all relevant times reasonably
                   and prudently, in the best interest of the Plan’s participants, and in accordance
                   with ERISA, including the fiduciary duty and prohibited transaction provisions of
                   ERISA.

          14.5.    Neither the Settling Parties, Class Counsel, nor Defense Counsel shall have any
                   responsibility for or liability whatsoever with respect to (a) any act, omission, or
                   determination of the Settlement Administrator, or any of their respective
                   designees or agents, in connection with the administration of the Gross Settlement
                   Amount or otherwise; (b) the determination of the Independent Fiduciary; (c) the
                   management, investment, or distribution of the Qualified Settlement Fund; (d) the
                   Plan of Allocation as approved by the Court; (e) the determination,
                   administration, calculation, or payment of any claims asserted against the
                   Qualified Settlement Fund; (f) any losses suffered by, or fluctuations in the value
                   of, the Qualified Settlement Fund; or (g) the payment or withholding of any taxes,
                   expenses, and/or costs incurred in connection with the taxation of the Qualified
                   Settlement Fund or tax reporting, or the filing of any returns. Further, neither
                   Defendants nor Defense Counsel shall have any responsibility for, or liability
                   whatsoever with respect to, any act, omission, or determination of Class Counsel
                   in connection with the administration of the Gross Settlement Amount or
                   otherwise.

          14.6.    The Released Parties shall not have any responsibility for or liability whatsoever
                   with respect to the Plan of Allocation, including, but not limited to, the
                   determination of the Plan of Allocation or the reasonableness of the Plan of
                   Allocation.

          14.7.    The Settling Parties acknowledge that any payments to Class Members or their
                   attorneys may be subject to applicable tax laws. Defendants, Defense Counsel,
                   Class Counsel, and Class Representatives will provide no tax advice to the Class
                   Members and make no representation regarding the tax consequences of any of
                   the settlement payments described in the Settlement Agreement. To the extent
                   that any portion of any settlement payment is subject to income or other tax, the
                   recipient of the payment shall be responsible for payment of such tax. Deductions
                   will be made, and reporting will be performed by the Settlement Administrator, as
                   required by law in respect of all payments made under the Settlement Agreement.
                   Payments from the Qualified Settlement Fund shall not be treated as wages by the
                   Settling Parties.

          14.8.    Each Class Member who receives a payment under this Settlement Agreement
                   shall be fully and ultimately responsible for payment of any and all federal, state,
                   or local taxes resulting from or attributable to the payment received by such
                   person. Each such Class Member shall hold the Released Parties, Defense
                   Counsel, Class Counsel, and the Settlement Administrator harmless from any tax
                   liability, including penalties and interest, related in any way to payments under
                   the Settlement Agreement, and shall hold the Released Parties, Defense Counsel,


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                   Class Counsel, and the Settlement Administrator harmless from the costs
                   (including, for example, attorneys’ fees and disbursements) of any proceedings
                   (including, for example, investigation and suit), related to such tax liability.

          14.9.    Only Class Counsel shall have standing to seek enforcement of this Settlement
                   Agreement on behalf of Plaintiffs and Class Members. Any individual concerned
                   about Defendants’ compliance with this Settlement Agreement may so notify
                   Class Counsel and direct any requests for enforcement to them. Class Counsel
                   shall have the full and sole discretion to take whatever action they deem
                   appropriate, or to refrain from taking any action, in response to such request. Any
                   action by Class Counsel to monitor or enforce the Settlement Agreement shall be
                   done without additional fee or reimbursement of expenses beyond the Attorneys’
                   Fees and Costs determined by the Court.

          14.10. This Settlement Agreement shall be interpreted, construed, and enforced in
                 accordance with applicable federal law and, to the extent that federal law does not
                 govern, Pennsylvania law.

          14.11. The Settling Parties agree that the Court has personal jurisdiction over the
                 Settlement Class and Defendants and shall maintain personal and subject-matter
                 jurisdiction for purposes of resolving any disputes between the Settling Parties
                 concerning compliance with this Settlement Agreement. Any motion or action to
                 enforce this Settlement Agreement—including by way of injunction—may be
                 filed in the U.S. District Court for the Eastern District of Pennsylvania, or asserted
                 by way of an affirmative defense or counterclaim in response to any action
                 asserting a violation of the Settlement Agreement.

          14.12. Each party to this Settlement Agreement hereby acknowledges that he, she, or it
                 has consulted with and obtained the advice of counsel prior to executing this
                 Settlement Agreement and that this Settlement Agreement has been explained to
                 that party by his, her, or its counsel.

          14.13. Before entry of the Preliminary Approval Order and approval of the Independent
                 Fiduciary, this Settlement Agreement may be modified or amended only by
                 written agreement signed by or on behalf of all Settling Parties. Following
                 approval by the Independent Fiduciary, this Settlement Agreement may be
                 modified or amended only if such modification or amendment is set forth in a
                 written agreement signed by or on behalf of all Settling Parties and only if the
                 Independent Fiduciary approves such modification or amendment in writing.
                 Following entry of the Preliminary Approval Order, this Settlement Agreement
                 may be modified or amended only by written agreement signed on behalf of all
                 Settling Parties, and only if the modification or amendment is approved by the
                 Independent Fiduciary in writing and approved by the Court.

          14.14. The provisions of this Settlement Agreement may be waived only by an
                 instrument in writing executed by the waiving party and specifically waiving such
                 provisions. The waiver of any breach of this Settlement Agreement by any party


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                   shall not be deemed to be or construed as a waiver of any other breach or waiver
                   by any other party, whether prior, subsequent, or contemporaneous, of this
                   Settlement Agreement.

          14.15. Each of the Settling Parties agrees, without further consideration, and as part of
                 finalizing the Settlement hereunder, that it will in good faith execute and deliver
                 such other documents and take such other actions as may be necessary to
                 consummate and effectuate the subject matter of this Settlement Agreement.

          14.16. All of the exhibits attached hereto are incorporated by reference as though fully
                 set forth herein. The exhibits shall be: Exhibit A – Notice of Class Action
                 Settlement and Fairness Hearing; Exhibit B – Plan of Allocation; Exhibit C –
                 Preliminary Approval Order; Exhibit D – Final Approval Order; Exhibit E – Form
                 of CAFA Notice.

          14.17. No provision of the Settlement Agreement or of the exhibits attached hereto shall
                 be construed against or interpreted to the disadvantage of any party to the
                 Settlement Agreement because that party is deemed to have prepared, structured,
                 drafted, or requested the provision.

          14.18. Principles of Interpretation. The following principles of interpretation apply to
                 this Settlement Agreement:

                            Headings. Any headings included in this Settlement Agreement are for
                            convenience only and do not in any way limit, alter, or affect the matters
                            contained in this Settlement Agreement or the Articles or Sections they
                            caption.

                            Singular and Plural. Definitions apply to the singular and plural forms
                            of each term defined.

                            Gender. Definitions apply to the masculine, feminine, and neuter
                            genders of each term defined.

                            References to a Person. References to a Person are also to the Person’s
                            permitted successors and assigns, except as otherwise provided herein.

                            Terms of Inclusion. Whenever the words “include,” “includes,” or
                            “including” are used in this Settlement Agreement, they shall not be
                            limiting but rather shall be deemed to be followed by the words “without
                            limitation.”

          14.19. Survival. All of the covenants, representations, and warranties, express or
                 implied, oral or written, concerning the subject matter of this Settlement
                 Agreement are contained in this Settlement Agreement. No Party is relying on
                 any oral representations or oral agreements. All such covenants, representations,




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                   and warranties set forth in this Settlement Agreement shall be deemed continuing
                   and shall survive the Settlement Effective Date

          14.20. Notices. Any notice, demand, or other communication under this Settlement
                 Agreement (other than the Settlement Notice, or other notices given at the
                 direction of the Court) shall be in writing and shall be deemed duly given upon
                 receipt if it is addressed to each of the intended recipients as set forth below and
                 personally delivered, sent by registered or certified mail postage prepaid, or
                 delivered by reputable express overnight courier or via e-mail:

          IF TO CLASS REPRESENTATIVES:

         Mark K. Gyandoh
         CAPOZZI ADLER, P.C.
         312 Old Lancaster Road
         Merion Station, PA 19066
         Tel.: 610.890.0200
         Fax: 717.233.4103
         markg@capozziadler.com



          IF TO DEFENDANTS:

         Jeremy P. Blumenfeld
         MORGAN, LEWIS & BOCKIUS, LLP
         1701 Market Street
         Philadelphia, PA 19103
         Tel: 215.963.5000
         Fax: 215.963.5001
         jeremy.blumenfeld@morganlewis.com



         Any Settling Party may change the address at which it is to receive notice by written
 notice delivered to the other Settling Parties in the manner described above.

          14.21. Entire Agreement. This Settlement Agreement and the exhibits attached hereto
                 constitute the entire agreement among the Settling Parties and no representations,
                 warranties, or inducements have been made to any party concerning the
                 Settlement other than those contained in this Settlement Agreement and the
                 exhibits thereto. It specifically supersedes any settlement terms or settlement
                 agreements relating to the Defendants that were previously agreed upon orally or
                 in writing by any of the Settling Parties.

          14.22. Counterparts. The Settlement Agreement may be executed by exchange of
                 executed signature pages, and any signature transmitted by facsimile or e-mail


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                       EXHIBIT A
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                                       UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    CARLOS O. NESBETH, AMIT GODAMBE, JENNY     )
    GALLERY, MISTY HOWELL and MICAH WEBB,      )
    individually and on behalf of all others similarly
                                               )                               CIVIL ACTION NO.: 21-cv-01444-PD
    situated,                                  )
                                               )
                           Plaintiffs,         )
                                               )
                v.                             )
                                               )
    ICON CLINICAL RESEARCH, LLC, THE BOARD )
    OF DIRECTORS OF ICON CLINICAL RESEARCH, )
    LLC, THE 401(K) PLAN COMMITTEE OF ICON     )
    CLINICAL RESEARCH, LLC and JOHN DOES 1-30. )
                                               )
                           Defendants.         )
                                               )
                                            NOTICE OF CLASS ACTION SETTLEMENT

                            A federal court has authorized this Notice. This is not a solicitation from a lawyer.

                      PLEASE READ THIS NOTICE CAREFULLY AS IT MAY AFFECT YOUR RIGHTS

 You are receiving this Notice of Class Action Settlement (“Notice”) because the records of the ICON Clinical Research LLC 401(k)
 Plan, and each of its predecessor plans or successor plans, individually and collectively (the “Plan”), indicate that you were a
 participant in the Plan during the period March 26, 2015 through [Date of Preliminary Approval Order] (the “Class Period”). As such,
 your rights may be affected by a proposed settlement of this class action lawsuit (the “Settlement”). Please read the following
 information carefully to find out what the lawsuit is about, what the terms of the proposed Settlement are, what rights you
 have to object to the proposed Settlement Agreement if you disagree with its terms, and what deadlines apply.

 This Notice contains summary information with respect to the Settlement. The complete terms and conditions of the Settlement are set
 forth in a Settlement Agreement (“Settlement Agreement”). Capitalized terms used in this Notice, but not defined in this Notice, have
 the meanings assigned to them in the Settlement Agreement. The Settlement Agreement, and additional information with respect to this
 lawsuit and the Settlement, is available at an Internet site dedicated to the Settlement, www.ICONERISAsettlement.com.

 The Court in charge of this case is the United States District Court for the Eastern District of Pennsylvania. The persons who sued on behalf
 of themselves and the Plan are called the “Named Plaintiffs,” and the people they sued are called “Defendants.” The Named Plaintiffs are
 Carlos O. Nesbeth, Amit Godambe, Jenny Gallery, Misty Howell, and Micah Webb. The Defendants are, among others, ICON Clinical
 Research LLC (“ICON”) and the 401(k) Plan Committee of ICON Clinical Research LLC. The Action is known as Nesbeth, et al. v. ICON
 Clinical Research, LLC, et al., No. 2:21-cv-01444-PD (E.D. Pa).

                       YOUR LEGAL RIGHTS AND OPTIONS UNDER THE SETTLEMENT
   YOU ARE NOT REQUIRED
   TO FILE A CLAIM IF YOU     If the Settlement is approved by the Court and you are a member of the Settlement Class, you will
   ARE ENTITLED TO A          not need to file a claim in order to receive a Settlement payment if you are entitled to receive a
   PAYMENT UNDER THE          payment under the Settlement Agreement.
   SETTLEMENT AGREEMENT.
                              If you currently have a positive account balance in the Plan and are a Settlement Class member,
                              any share of the Net Settlement Amount to which you are entitled will be deposited into your
   HOW SETTLEMENT
                              Plan account. If you are a Former Participant (i.e., no longer a participant in the Plan) and are a
   PAYMENTS WILL BE
                              Settlement Class member, such funds shall be paid directly to you by the Settlement
   DISTRIBUTED.
                              Administrator.

                   QUESTIONS? VISIT WWW.ICONERISASETTLEMENT.COM OR CALL TOLL-FREE XXX-XXX-XXXX
                               DO NOT CONTACT THE COURT OR ICON WITH YOUR QUESTIONS.
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     YOU MAY OBJECT TO THE
                                                       If you wish to object to any part of the Settlement, you may (as discussed below) write to the
     SETTLEMENT BY
                                                       Court and the attorneys for the Parties about why you object to the Settlement.
     ________________.
                                           If you submit a written objection to the Settlement to the Court and counsel before the Court-
     YOU MAY ATTEND THE                    approved deadline, you may (but do not have to) attend the Fairness Hearing about the Settlement
     FAIRNESS HEARING TO BE                and present your objections to the Court. You may attend the Fairness Hearing even if you do not
     HELD ON                               file a written objection, but you will only be allowed to speak at the Fairness Hearing if you file a
     _____________________.                written objection by the Court-approved deadline in advance of the Fairness Hearing AND you
                                           file a Notice of Intention To Appear, as described in the answer to Question 16 in this Notice.
 •     These rights and options—and the deadlines to exercise them—are explained in this Notice.
 •     The Court still has to decide whether to approve the Settlement. Payments will be made only if the Court approves the Settlement
       and that approval is upheld in the event of any appeal.

 Further information regarding this litigation and this Notice may be obtained by contacting the following Class Counsel:

                                                                                Mark K. Gyandoh
                                                                               CAPOZZI ADLER. P.C.
                                                                            Merion Station, PA 19066
                                                                            Telephone: (610) 890-0200
                                                                            Facsimile: (717) 233-4103

 Class Counsel has established a toll-free phone number to receive your comments and questions: XXX-XXX-XXXX. You may also
 send an email to settlement@CapozziAdler.com. In the subject line please write “ICON Settlement.” You should contact Class Counsel
 with any questions regarding this Settlement, not the Court, ICON or counsel for the Defendants.

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                                                                       SUMMARY OF SETTLEMENT

 This litigation (the “Action”) is a class action in which Named Plaintiffs Carlos O. Nesbeth, Amit Godambe, Jenny Gallery, Misty
 Howell and Micah Webb allege that the Defendants breached fiduciary duties owed to the participants in and beneficiaries of the Plan
 under ERISA by, among other things, failing to attempt to reduce the Plan’s expenses or exercise appropriate judgment to scrutinize
 each investment option that was offered in the Plan to ensure it was prudent. A copy of the Complaint as well as other documents filed
 in the Action are available at www.ICONERISAsettlement.com or from Class Counsel. Defendants have denied and continue to deny
                        QUESTIONS? VISIT WWW.ICONERISASETTLEMENT.COM OR CALL TOLL-FREE XXX-XXX-XXXX
                                    DO NOT CONTACT THE COURT OR ICON WITH YOUR QUESTIONS.
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 all of the claims and allegations in the Action and deny any liability or wrongful conduct of any kind. Defendants believe they have
 administered the Plan properly, prudently, and in the best interests of Plan participants.

 A Settlement Fund consisting of $950,000.00 (nine hundred fifty thousand dollars) in cash (the “Gross Settlement Amount”) is being
 established in the Action. The Gross Settlement Amount will be deposited into an escrow account, and the Gross Settlement Amount,
 together with any interest earned, will constitute the Settlement Fund. Payment of any taxes, approved attorneys’ fees and litigation
 expenses; payment of Case Contribution Awards to the Named Plaintiffs; and the costs of administering the Settlement will be paid out
 of the Settlement Fund. After the payment of such fees, expenses, and awards, the amount that remains will constitute the Net Settlement
 Amount. The Net Settlement Amount will be allocated to Settlement Class members according to a Plan of Allocation to be approved
 by the Court.

 STATEMENT OF POTENTIAL OUTCOME OF THE ACTION

 Defendants strongly dispute each of the claims asserted in the Action and deny that they ever engaged in any wrongdoing, violation of
 law or breach of duty. Further, Named Plaintiffs would face an uncertain outcome if the Action were to continue. While engaged in
 discovery, and after Plaintiffs filed their motion for class certification and Defendants filed a motion for summary judgment, the
 settlement was reached. If settlement had not been reached and their motion for summary judgment had been denied, Defendants would
 present evidence at trial that they reasonably and prudently managed the Plan’s investment options and fees and fulfilled all of their
 fiduciary obligations. As a result, continued litigation could result in a judgment in favor of the Defendants and against the Named
 Plaintiffs and Class. Even if the Named Plaintiffs and Class prevailed, they might recover a judgment less than the benefits obtained as
 part of the Settlement, or no recovery at all.

 The Named Plaintiffs and the Defendants disagree on liability and do not agree on the amount that would be recoverable even if the Named
 Plaintiffs were to prevail at trial. The Defendants deny all claims and contentions by the Named Plaintiffs. The Defendants deny that they
 are liable to the Settlement Class and that the Settlement Class or the Plan has suffered any damages for which the Defendants could be held
 legally responsible. Having considered the uncertainty, costs and risks inherent in any litigation, particularly in a complex case such as this,
 the Named Plaintiffs and Defendants have concluded that it is desirable that the Action be fully and finally settled on the terms and conditions
 set forth in the Settlement Agreement.

 STATEMENT OF ATTORNEYS’ FEES AND EXPENSES SOUGHT IN THE ACTION

 Class Counsel will apply to the Court for an order awarding attorneys’ fees not in excess of thirty-three and one third percent (33 1/3%)
 of the Settlement Amount (a maximum amount of $316,635.00), plus reimbursement of expenses not to exceed $50,000.00. Any amount
 approved by the Court will be paid from the Settlement Fund.

 WHAT WILL THE NAMED PLAINTIFFS GET?

 The Named Plaintiffs will share in the allocation of the Net Settlement Amount on the same basis as all other members of the Settlement
 Class. In addition, the Named Plaintiffs will ask the Court to award up to $10,000 to each of the Named Plaintiffs as Case Contribution
 Awards for their participation in the Action and representation of the Settlement Class. Any such awards will be paid solely from the
 Settlement Fund.

                                                          BASIC INFORMATION

    1.   WHY DID I GET THIS NOTICE PACKAGE?

 You or someone in your family may have been a participant in or a beneficiary of the Plan during the period from March 26, 2015 to
 ___________.

 The Court directed that this Notice be sent to you because, if you fall within the definition of the Settlement Class, you have a right to
 know about the Settlement and the options available to you regarding the Settlement before the Court decides whether to approve the
 Settlement. If the Court approves the Settlement, and after any objections and appeals are resolved, the Net Settlement Amount will be
 distributed to the Settlement Class members according to a Court-approved Plan of Allocation described below. This Notice describes
 the Action, the Settlement, your legal rights, what benefits are available, who is eligible for them, and how to get them.


    2.   WHAT IS THE ACTION ABOUT?

 The Action claims that under ERISA, the Defendants owed fiduciary duties of care and prudence to the Plan and that they violated those
 duties in connection with the selection and monitoring of the Plan’s investment options and service providers. During the Class Period,
                   QUESTIONS? VISIT WWW.ICONERISASETTLEMENT.COM OR CALL TOLL-FREE XXX-XXX-XXXX
                               DO NOT CONTACT THE COURT OR ICON WITH YOUR QUESTIONS.
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 participants in the Plan were able to allocate their account balances among various investment funds. Named Plaintiffs allege that the
 Plan had substantial bargaining power regarding the fees and expenses that were charged. Named Plaintiffs further allege that
 Defendants did not exercise appropriate judgment to scrutinize each investment option that was offered in the Plan to ensure it was
 prudent. Additionally, Named Plaintiffs allege Defendants failed to prudently monitor the recordkeeping fees charged to Plan
 participants. Recordkeeping in simple terms refers to the suite of administrative services provided to retirement plan participants that
 generally includes provision of account statements to participants.

 THE DEFENSES IN THE ACTION

 Defendants deny all of the claims and allegations made in the Action and deny that they ever engaged in any wrongful conduct. If the
 Action were to continue, the Defendants would continue to assert numerous defenses to liability, including:
         • Defendants did not engage in any of the allegedly improper conduct charged in the Complaint;
         • Defendants reasonably and prudently managed the Plan’s investment options and fees, as well as all recordkeeping fees,
              and fulfilled all of their fiduciary obligations;
         • As part of its reasonable and prudent process to manage the Plan, Defendants retained professional investment consultants
              to help ensure that the Plan offered suitable investments while simultaneously ensuring the Plan’s fees and expenses
              remained reasonable;
         • As part of its reasonable and prudent process to manage the Plan, Defendants monitored, and repeatedly renegotiated, the
              Plan’s recordkeeping fees, including through two competitive “Request for Proposal” processes that solicited bids from
              several potential recordkeepers to reduce Plan expenses;
         • The Plan’s investment options were and are reasonable, prudent, and sound investment options for Plan participants;
         • Even if a court were to determine that Defendants failed to discharge any duty under ERISA, any such breach of fiduciary
              duty did not cause the Plan or its participants to suffer any loss.

 THE ACTION HAS BEEN AGGRESSIVELY LITIGATED

 Class Counsel has extensively investigated the allegations in the Action. Among other efforts, Class Counsel reviewed Plan-governing
 documents and materials, communications with Plan participants, U.S. Department of Labor filings, news articles and other publications,
 and other documents regarding the general and specific matters that were alleged in the complaint filed on March 26, 2021. Defendants
 filed an Answer on June 1, 2021 denying the allegations in the Complaint. On September 27, 2021, Plaintiffs filed a motion for class
 certification. On November 15, 2021 Defendants filed an opposition and on December 15, 2021 Plaintiffs filed a response in support of
 the motion for class certification. On November 19, 2021, Defendants filed a motion for summary judgment. On December 15, 2021,
 Plaintiffs filed an opposition. Before the Court ruled on Plaintiffs’ motion for class certification or Defendants’ motion for summary
 judgment, the Parties began to discuss the possibility of a resolution of this matter through mediation. Through several weeks of intense
 and arms’ length negotiations, the Parties reached agreement.

    3.   WHY IS THIS CASE A CLASS ACTION?

 In a class action, one or more plaintiffs, called “class representatives” or “named plaintiffs,” sue on behalf of people who have similar
 claims. All of these people who have similar claims collectively make up the “class” and are referred to individually as “class
 members.” One case resolves the issues for all class members together. Because the conduct alleged in this Action is claime d to
 have affected a large group of people – participants in the Plan during the Class Period – in a similar way, the Named Plaintiffs filed
 this case as a class action.



    4.   WHY IS THERE A SETTLEMENT?

 As in any litigation, all parties face an uncertain outcome. On the one hand, continuation of the case against the Defendants could result
 in a judgment greater than this Settlement. On the other hand, continuing the case could result in Plaintiffs obtaining no recovery at all
 or obtaining a recovery that is less than the amount of the Settlement. Based on these factors, the Named Plaintiffs and Class Counsel
 have concluded that the proposed Settlement is in the best interests of all Settlement Class members.



    5.   HOW DO I KNOW WHETHER I AM PART OF THE SETTLEMENT?

 You are a member of the Settlement Class if you fall within the definition of the Settlement Class preliminarily approved by Judge Paul S. Diamond:


                   QUESTIONS? VISIT WWW.ICONERISASETTLEMENT.COM OR CALL TOLL-FREE XXX-XXX-XXXX
                               DO NOT CONTACT THE COURT OR ICON WITH YOUR QUESTIONS.
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          All persons who participated in the Plan at any time during the Class Period, including any Beneficiary of a deceased
          person who participated in the Plan at any time during the Class Period, and any Alternate Payee of a person subject
          to a Qualified Domestic Relations Order who participated in the Plan at any time during the Class Period. Excluded
          from the Settlement Class are Defendants and their beneficiaries.


 The “class period” referred to in this definition is from March 26, 2015 to __ [date of preliminary approval order]. If you are a member of the
 Settlement Class, the amount of money you will receive, if any, will depend upon the Plan of Allocation, described below.

                                      THE SETTLEMENT BENEFITS—WHAT YOU MAY GET

    6.   WHAT DOES THE SETTLEMENT PROVIDE?

 Provided that the Settlement becomes Final, a Settlement Fund consisting of $950,000.00 will be established in the Action. The amount
 of money that will be allocated among members of the Settlement Class, after the payment of any taxes and Court-approved costs, fees,
 and expenses, including attorneys’ fees and expenses of Class Counsel, any Court-approved Case Contribution Awards to be paid to the
 Named Plaintiffs, and payment of expenses incurred in calculating the Settlement payments and administering the Settlement, is called
 the Net Settlement Amount. The Net Settlement Amount will not be known until these other amounts are quantified and deducted. The
 Net Settlement Amount will be allocated to members of the Settlement Class according to a Plan of Allocation to be approved by the
 Court. The Plan of Allocation describes how Settlement payments will be distributed to Settlement Class members who receive a
 payment.

 If the Settlement is approved by the Court, all Settlement Class members and anyone claiming through them shall be deemed to fully release
 the Released Parties from Released Claims.

 The Released Parties are (a) Defendants, (b) Defendants’ insurers, co-insurers, and reinsurers, (c) ICON’s direct and indirect, past, present
 or future parents, subsidiaries, affiliates, divisions, joint ventures, predecessors, successors, successors-in-interest, and assigns, boards of
 trustees, boards of directors, officers, trustees, directors, partners, agents, managers, members, employees or heirs (including any individuals
 who serve or served in any of the foregoing capacities, such as members of the boards of trustees or boards of directors that are associated
 with any of Defendants’ past, present, and future affiliates), and each person that controls, is controlled by, or is under common control
 with them, (d) the Plan and the Plan’s current and past fiduciaries, administrators, plan administrators, recordkeepers, service providers,
 consultants, and parties-in-interest and (e) Defendants’ independent contractors, representatives, attorneys, administrators, fiduciaries,
 accountants, auditors, advisors, consultants, personal representatives, spouses, heirs, executors, administrators, associates, employee benefit
 plan fiduciaries (with the exception of the independent fiduciary), employee benefit plan administrators, service providers to the Plan
 (including their owners and employees), members of their immediate families, consultants, subcontractors, and all persons acting under,
 by, through, or in concert with any of them. Released Claims are defined in the Settlement Agreement and include all claims that were or
 could have been asserted in the Action. This means, for example, that Settlement Class members will not have the right to sue the Released
 Parties for failure to prudently select and monitor the Plan’s investment options or fees, or related matters, that occurred during the Class
 Period.

 The above description of the proposed Settlement is only a summary. The complete terms, including the definitions of the Released Parties
 and Released Claims, are set forth in the Settlement Agreement (including its exhibits), which may be obtained at a dedicated Settlement
 Internet site, www.ICONERISASettlement.com or by contacting Class Counsel listed on Page 2 above.



    7.   HOW MUCH WILL MY PAYMENT BE?

 Each Settlement Class member’s share will be calculated according to a Court-approved Plan of Allocation by a third-party vendor
 (“Settlement Administrator”) selected by Class Counsel. You are not required to calculate the amount you may be entitled to receive
 under the Settlement as the Settlement Administrator will do so under the Plan of Allocation. In general, your proportionate share of the
 Settlement will be calculated as follows:

     •    First, the Settlement Administrator will obtain balances for each Settlement Class member in their Plan accounts as of
          December 31, 2015, and on December 31 of each subsequent year of the Class Period up to and including 2022. For 2022,
          March 31, 2022 will be used. Each Class Member’s account balances for each year of the Class Period based on the account
          balances as of these dates will be summed. This summed amount will be that Class Member’s “Balance.”

     •    Second, the Balance for all Class Members will be summed.

                   QUESTIONS? VISIT WWW.ICONERISASETTLEMENT.COM OR CALL TOLL-FREE XXX-XXX-XXXX
                               DO NOT CONTACT THE COURT OR ICON WITH YOUR QUESTIONS.
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     •    Third, each Class Member will receive a share of the Net Settlement Amount in proportion to the sum of that Class Member’s
          Balance as compared to the sum of the Balance for all Class Members, i.e. where the numerator is the Class Member’s Balance
          and the denominator is the sum of all Class Members’ Balances.

     •    The amounts resulting from this initial calculation will be known as the Preliminary Entitlement Amount. Class Members who
          are entitled to a distribution of less than $10.00 will receive a distribution of $10.00 (the “De Minimis Amount”) from the Net
          Settlement Amount. In other words, the Settlement Administrator shall progressively increase Class Members’ awards falling
          below the De Minimis Amount until the lowest participating Class Member award is the De Minimis Amount, i.e. $10.00. The
          resulting calculation shall be the Final Entitlement Amount for each Class Member. The sum of the Final Entitlement Amount
          for each Class Member will equal the dollar amount of the Net Settlement Amount.


 You will not be required to produce records that show your Plan activity. If you are entitled to a share of the Settlement Fund, your
 share of the Settlement will be determined based on the Plan’s records for your account. If you have questions regarding the allocation
 of the Net Settlement Amount, please contact Class Counsel listed on Page 2 above.



    8.   HOW MAY I RECEIVE A PAYMENT?

 You do not need to file a claim. The Entitlement Amount for Settlement Class members with an Active Account (an account with a
 positive balance) as of [March 31, 2022] (unless that Plan account is closed prior to distribution of Settlement proceeds, in which case
 that Class Member will receive their allocation via a check) will be paid into the Plan. Former Participants will be paid directly by the
 Settlement Administrator by check.

 All such payments are intended by the Settlement Class to be “restorative payments” in accordance with Internal Revenue Service
 Revenue Ruling 2002-45. Checks issued to Former Participants pursuant to this paragraph shall be valid for 180 days from the date of
 issue. If you are a former Plan participant and have not provided the Plan with your current address, please contact Class Counsel listed
 on Page 2 above.
 Each Class Member who receives a payment under this Settlement Agreement shall be fully and ultimately responsible for payment of
 any and all federal, state, or local taxes resulting from or attributable to the payment received by such person.


    9.   WHEN WOULD I GET MY PAYMENT?

 The Settlement cannot be completed unless and until several events occur. These events include final approval of the Settlement by the
 Court, approval of the Settlement by an independent fiduciary to the Plan, transfer of the Net Settlement Amount to the Plan, and calculation
 of the amount of the Settlement owed to each Settlement Class member. If objections are made to the Settlement or appeals are taken by
 objectors who oppose the approval of the Settlement, this process may take a long time to complete, possibly several years.

 There will be no payments if the Settlement Agreement is terminated.

 The Settlement Agreement may be terminated for several reasons, including if (1) the Court does not approve or materially modifies the
 Settlement Agreement, or (2) the Court approves the Settlement Agreement but the approval is reversed or materially modified by an
 appellate court. If the Settlement Agreement is terminated, the Action will proceed again as if the Settlement Agreement had not been
 entered into. The Settlement is not conditioned upon the Court’s approval of attorneys’ fees or the reimbursement of expenses/costs
 sought by Class Counsel, the Case Contribution Awards sought by the Named Plaintiffs, or any appeals solely related thereto.



    10. CAN I GET OUT OF THE SETTLEMENT?

 You do not have the right to exclude yourself from the Settlement. The Settlement Agreement provides for certification of the
 Settlement Class as a non-opt-out class action under Federal Rule of Civil Procedure 23(b)(1), and the Court has preliminarily determined
 that the requirements of that rule have been satisfied. Thus, it is not possible for any Settlement Class members to exclude themselves from
 the Settlement. As a Settlement Class member, you will be bound by any judgments or orders that are entered in the Action for all claims
 that were or could have been asserted in the Action or are otherwise released under the Settlement.



                   QUESTIONS? VISIT WWW.ICONERISASETTLEMENT.COM OR CALL TOLL-FREE XXX-XXX-XXXX
                               DO NOT CONTACT THE COURT OR ICON WITH YOUR QUESTIONS.
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 Although you cannot opt out of the Settlement, you can object to the Settlement and ask the Court not to approve it. For more information
 on how to object to the Settlement, see the answer to Question 13 below.

                                              THE LAWYERS REPRESENTING YOU

    11. DO I HAVE A LAWYER IN THE CASE?

 The Court has preliminarily appointed the law firm of Capozzi Adler, P.C. as Class Counsel for the Named Plaintiffs in the Action. You
 will not be charged directly by these lawyers. If you want to be represented by your own lawyer, you may hire one at your own expense.

    12. HOW WILL THE LAWYERS BE PAID?

 Class Counsel will file a motion for the award of attorneys’ fees of not more than one third (33 1/3%) of the Settlement Amount, plus
 reimbursement of expenses incurred in connection with the prosecution of the Action. This motion will be considered at the Fairness
 Hearing described below.

 OBJECTING TO THE ATTORNEYS’ FEES

 By following the procedures described in the answer to Question 13, you can tell the Court that you do not agree with the fees and
 expenses the attorneys intend to seek and ask the Court to deny their motion or limit the award.

    13. HOW DO I TELL THE COURT IF I DO NOT LIKE THE SETTLEMENT?

 If you are a Settlement Class Member, you can object to the Settlement if you do not like any part of it. You can give reasons why
 you think the Court should not approve it. To object, you must send a letter or other writing saying that you object to the Settlement in
 Nesbeth, et al. v. ICON Clinical Research, LLC, et al., No. 2:21-cv-01444-PD (EDPA). Be sure to include your name, address,
 telephone number, signature, and a full explanation of all the reasons why you object to the Settlement. You must file your objection
 with the Clerk of the Court of the United States District Court for the Eastern District of Pennsylvania so that it is received no later
 than _______________. The address is:


                                                          Clerk of the Court
                                                    James A. Byrne U.S. Courthouse
                                                          601 Market Street
                                                        Philadelphia, PA 19106

 The objection must refer prominently to this case name: Nesbeth, et al. v. ICON Clinical Research, LLC, et al., No. 2:21-cv-01444-PD
 (EDPA).

 A copy of your objection must also be provided to Class Counsel and Defense Counsel by email to
 settlement@CapozziAdler.com (writing “ICON Settlement” in the subject line) or to the following respective addresses for
 Class and Defense Counsel:

                                  Class Counsel                                       Defense Counsel

                               Mark K. Gyandoh                                      Jeremy P. Blumenfeld
                              Capozzi Adler, P.C.                               Morgan, Lewis & Bockius LLP
                             312 Old Lancaster Rd                                    1701 Market Street
                       Merion Station, Pennsylvania 19066                          Philadelphia, PA 19103



                                                     THE FAIRNESS HEARING

 The Court will hold a Fairness Hearing to decide whether to approve the Settlement as fair, reasonable, and adequate. You may
 participate in the Fairness Hearing, which may be held telephonically or by video conference, and you may ask to speak if you have
 timely asserted an objection, but you do not have to participate in the Fairness Hearing to have your objection considered. It is your
 obligation to ensure that your written objection is received by the Court by no later than __________________.

                   QUESTIONS? VISIT WWW.ICONERISASETTLEMENT.COM OR CALL TOLL-FREE XXX-XXX-XXXX
                               DO NOT CONTACT THE COURT OR ICON WITH YOUR QUESTIONS.
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    14. WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE THE SETTLEMENT?

 The Fairness Hearing currently is scheduled for ______ _.m. on _________________, at the United States District Court for the Eastern
 District of Pennsylvania, James A. Byrne U.S. Courthouse, 601 Market Street, Philadelphia, PA 19106, before the Hon. Paul S. Diamond, or
 such other courtroom as the Court may designate. The Court may adjourn the Fairness Hearing without further notice to the
 Settlement Class and also may schedule the hearing to be done by telephone or video conference. If you wish to attend, you
 should confirm the date and time of the Fairness Hearing with Class Counsel before doing so. At that hearing, the Court will
 consider whether the Settlement is fair, reasonable, and adequate. If there are objections, the Court will consider them. The Court will
 also rule on the motions for attorneys’ fees and reimbursement of expenses and for Case Contribution Awards for the Named Plaintiffs.
 The Parties do not know how long these decisions will take or whether appeals will be filed.

    15. DO I HAVE TO COME TO THE HEARING?

 No, but you are welcome to come at your own expense. If you file an objection, you do not have to come to Court to talk about it. As
 long as you mailed your written objection on time, it will be before the Court when the Court considers whether to approve the
 Settlement. You also may pay your own lawyer to attend the Fairness Hearing, but such attendance is also not necessary.



    16. MAY I SPEAK AT THE HEARING?

 If you submit a written objection to the Settlement to the Court and counsel before the Court-approved deadline, you may (but do not
 have to) attend the Fairness Hearing and present your objections to the Court. You may attend the Fairness Hearing even if you do not
 file a written objection, but you will only be allowed to speak at the Fairness Hearing if you file a written objection in advance of the
 Fairness Hearing AND you file a Notice of Intention To Appear, as described in this paragraph. To do so, you must file with the
 Court a letter or other paper called a “Notice of Intention To Appear at Fairness Hearing in Nesbeth, et al. v. ICON Clinical Research
 LLC, et al., No. 2:21-cv-01444-PD (EDPA).” Be sure to include your name, address, telephone number, and your signature. Your
 Notice of Intention To Appear must be received by the attorneys listed in the answer to Question 13 above, no later than
 ________________, and must be filed with the Clerk of the Court at the address listed in the answer to Question 13.

                                                           IF YOU DO NOTHING

    17. WHAT HAPPENS IF I DO NOTHING AT ALL?

 If you do nothing and you are a Settlement Class member, you will participate in the Settlement of the Action as described above in this Notice.

                                                    GETTING MORE INFORMATION

    18. ARE THERE MORE DETAILS ABOUT THE SETTLEMENT?

 Yes. This Notice summarizes the proposed Settlement. The complete terms are set forth in the Settlement Agreement. You may obtain
 a copy of the Settlement Agreement by making a written request to Class Counsel listed on Page 2 above. Copies may also be obtained
 at a dedicated Settlement website, www.ICONERISASettlement.com, by calling the toll-free number, xxx-xxx-xxxx, or by sending an
 email to Settlement@CapozziAdler.com. In the subject line please write “ICON Settlement.” You are encouraged to read the complete
 Settlement Agreement.

 DO NOT CONTACT THE COURT, THE CLERK’S OFFICE, ICON, OR COUNSEL FOR ICON REGARDING THIS
 NOTICE. THEY WILL NOT BE ABLE TO ANSWER YOUR QUESTIONS. INSTEAD CONTACT CLASS COUNSEL, THE
 SETTLEMENT ADMINISTRATOR TOLL-FREE AT XXX-XXX-XXXX, OR VISIT THE WEBSITE AT
 WWW.ICONERISASETTLEMENT.COM.




                   QUESTIONS? VISIT WWW.ICONERISASETTLEMENT.COM OR CALL TOLL-FREE XXX-XXX-XXXX
                               DO NOT CONTACT THE COURT OR ICON WITH YOUR QUESTIONS.
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                       EXHIBIT B
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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   CARLOS O. NESBETH, AMIT            )
   GODAMBE, JENNY GALLERY, MISTY      )
   HOWELL and MICAH WEBB, individually)                  CIVIL ACTION NO.: 21-cv-01444-PD
   and on behalf of all others similarly situated,
                                      )
                                      )
                         Plaintiffs,  )
                                      )
              v.                      )
                                      )
   ICON CLINICAL RESEARCH, LLC, THE )
   BOARD OF DIRECTORS OF ICON         )
   CLINICAL RESEARCH, LLC, THE 401(K) )
   PLAN COMMITTEE OF ICON CLINICAL )
   RESEARCH, LLC and JOHN DOES 1-30. )
                                      )
                         Defendants.  )


                                   PLAN OF ALLOCATION

   I.      DEFINITIONS

   Except as indicated in this Plan of Allocation, the capitalized terms used herein shall have the

meaning ascribed to them in the Settlement Agreement.

   II.     CALCULATION OF ALLOCATION AMOUNTS

           A. Per paragraph 8.2.1 of the Settlement Agreement, the Recordkeeper shall provide

the Settlement Administrator with the data reasonably necessary to determine the amount of the

Net Settlement Amount to be distributed to each member of the Settlement Class (“Settlement

Class Member” or “Class Member”) in accordance with this Plan of Allocation.

           B. The data reasonably necessary to perform calculations under this Plan of

Allocation is as follows: the balances for each Class Member in their Plan account as of December

31, 2015 and on December 31 of each subsequent year of the Class Period up to and including

2021. For 2022, March 31, 2022 will be used. For Class Members who had a balance in their

                                                     1
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accounts at the beginning of the Class Period, but liquidated their account prior to December 31,

2015, the balance in their account at the time of distribution will be the balance used for purposes

of calculating an award under this Plan of Allocation.

           C. The Net Settlement Amount will be allocated as follows:

               1. Calculate the sum of each Class Member’s account balances for each year of
                  the Class Period based on the data as of the dates above. This amount shall be
                  that Class Member’s “Balance.”

               2. Sum the Balance for all Class Members.

               3. Allocate each Class Member a share of the Net Settlement Amount in
                  proportion to the sum of that Class Member’s Balance as compared to the sum
                  of the Balance for all Class Members, i.e. where the numerator is the Class
                  Member’s Balance and the denominator is the sum of all Class Members’
                  Balances.

           D. The amounts resulting from this initial calculation shall be known as the

Preliminary Entitlement Amount. Class Members who are entitled to a distribution of less than

$10.00 will receive a distribution of $10.00 (the “De Minimis Amount”) from the Net Settlement

Amount. The Settlement Administrator shall progressively increase Class Members’ awards

falling below the De Minimis Amount until the lowest participating Class Member award is the

De Minimis Amount, i.e. $10.00. The resulting calculation shall be the “Final Entitlement

Amount” for each Settlement Class Member. The sum of the Final Entitlement Amount for each

remaining Settlement Class Member must equal the dollar amount of the Net Settlement Amount.

           E. Settlement Class Members With Accounts In the Plan. For Class Members with

an Active Account (an account with a positive balance) as of March 31, 2022, each Class

Member’s Final Entitlement Amount will be allocated into their Plan account (unless that Plan

account has been closed in the intervening period, in which case that Class Member will receive

their allocation in accordance with II.F, below).


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       As promptly as reasonably possible after deposit of the Net Settlement Amount into the

Plan (per Section 5.2.5 of the Settlement Agreement), the Settlement Administrator shall forward

to the Recordkeeper the information/data needed for allocating into each Settlement Class

Member’s account under the Plan his or her Class Member’s Final Entitlement Amount. The

deposited amount shall be invested by the Recordkeeper pursuant to the Settlement Class

Member’s investment elections on file for new contributions. If the Class Member has no

election on file, it shall be invested in any default investment option(s) designated by the Plan,

and if the Plan has not designated any default investment option(s), in a target date fund

commensurate with the Class Member’s retirement age or similar fund under the Plan.

           F. Settlement Class Members Without Accounts Under the Plan. Former

Participants shall be paid directly by the Settlement Administrator by check. All such payments

are intended by the Settlement Class to be “restorative payments” in accordance with Internal

Revenue Service Revenue Ruling 2002-45. Checks issued to Former Participants pursuant to

this paragraph shall be valid for 180 days from the date of issue.

           G. The Settlement Administrator shall utilize the calculations required to be

performed herein for making the required distributions of the Final Entitlement Amount, less any

required tax withholdings or penalties, to each Class Member. In the event that the Settlement

Administrator determines that the Plan of Allocation would otherwise require payments

exceeding the Net Settlement Amount, the Settlement Administrator is authorized to make such

changes as are necessary to the Plan of Allocation such that said totals do not exceed the Net

Settlement Amount. The Settlement Administrator shall be solely responsible for performing

any calculations required by this Plan of Allocation.

           H. If the Settlement Administrator concludes that it is impracticable to implement


                                                 3
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any provision of the Plan of Allocation, it shall be authorized to make such changes to the

methodology as are necessary to implement as closely as possible the terms of the Settlement

Agreement, so long as the total amount of distributions does not exceed the Net Settlement

Amount.

           I. No sooner than fourteen (14) calendar days following the expiration of all

undeposited checks issued pursuant to this Plan of Allocation, any amount remaining in the

Qualified Settlement Fund shall be paid to the Plan for the purpose of defraying administrative

fees and expenses of the Plan that would otherwise be charged to the Plan’s participants. Unless

otherwise expressly provided for in the Settlement Agreement, no part of the Settlement Fund

may be used to reimburse any Defendant or otherwise offset costs, including Settlement-related

costs, incurred by any Defendant.

           J. Neither the Released Parties, Defense Counsel, nor Class Counsel shall have any

responsibility for or liability whatsoever with respect to any tax advice given to Class Members,

including Former Participants.

III.   QUALIFICATIONS AND CONTINUING JURISDICTION

       The Court will retain jurisdiction over the Plan of Allocation to the extent necessary to

ensure that it is fully and fairly implemented.




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                       EXHIBIT C
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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CARLOS O. NESBETH, AMIT            )
GODAMBE, JENNY GALLERY, MISTY      )
HOWELL and MICAH WEBB, individually)                  CIVIL ACTION NO.: 21-cv-01444-PD
and on behalf of all others similarly situated,
                                   )
                                   )
                      Plaintiffs,  )
                                   )
           v.                      )
                                   )
ICON CLINICAL RESEARCH, LLC, THE )
BOARD OF DIRECTORS OF ICON         )
CLINICAL RESEARCH, LLC, THE 401(K) )
PLAN COMMITTEE OF ICON CLINICAL )
RESEARCH, LLC and JOHN DOES 1-30. )
                                   )
                      Defendants.  )

     ORDER GRANTING PRELIMINARY APPROVAL OF CLASS ACTION
        SETTLEMENT, PRELIMINARILY CERTIFYING A CLASS FOR
      SETTLEMENT PURPOSES, APPROVING FORM AND MANNER OF
      SETTLEMENT NOTICE, PRELIMINARILY APPROVING PLAN OF
    ALLOCATION AND SCHEDULING A DATE FOR A FAIRNESS HEARING




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          This Action involves claims for alleged violations of the Employee Retirement Income

 Security Act of 1974, 29 U.S.C. § 1001, et seq. (“ERISA”), with respect to the ICON Clinical

 Research LLC 401(k) Plan (“Plan”).1 The terms of the Settlement are set out in the Settlement

 Agreement, fully executed as of ___________, 2022, by counsel on behalf of the Named

 Plaintiffs, all Class Members, and Defendants, respectively.

          Pursuant to the Named Plaintiffs’ Motion for Preliminary Approval of Class Action

 Settlement, Preliminary Certification of a Class for Settlement Purposes, Approving Form and

 Manner of Settlement Notice, Preliminarily Approving Plan of Allocation, and Scheduling a Date

 for a Fairness Hearing filed on January 28, 2022, the Court preliminarily considered the Settlement

 to determine, among other things, whether the Settlement is sufficient to warrant the issuance of

 notice to members of the proposed Settlement Class. Upon reviewing the Settlement Agreement

 and the matter having come before the Court at the _______________________ hearing, due

 notice having been given and the Court having been fully advised in the premises, it is hereby

 ORDERED, ADJUDGED, AND DECREED as follows:

          1.       Preliminary Certification of the Settlement Class. In accordance with the

 Settlement Agreement, and pursuant to Rules 23(a) and (b)(1) of the Federal Rules of Civil

 Procedure, this Court hereby conditionally certifies the following class (“Settlement Class”):

          All persons who participated in the Plan at any time during the Class Period (March
          26, 2015 through the date of this Order), including any Beneficiary of a deceased
          person who participated in the Plan at any time during the Class Period, and any
          Alternate Payee of a person subject to a Qualified Domestic Relations Order who
          participated in the Plan at any time during the Class Period. Excluded from the
          Settlement Class are Defendants and their Beneficiaries.




 1
        All capitalized terms not otherwise defined in this Order shall have the same meaning as
 ascribed to them in the Settlement Agreement.
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          2.       Pursuant to the Settlement Agreement, and for settlement purposes only, the Court

 preliminarily finds that:

                   (a)    as required by FED. R. CIV. P. 23(a)(1), the Settlement Class is ascertainable

                          from records kept with respect to the Plan and from other objective criteria,

                          and the Settlement Class is so numerous that joinder of all members is

                          impracticable;

                   (b)    as required by FED. R. CIV. P. 23(a)(2), there are one or more questions of

                          law and/or fact common to the Settlement Class;

                   (c)    as required by FED. R. CIV. P. 23(a)(3), the claims of the Named Plaintiffs

                          are typical of the claims of the Settlement Class that the Named Plaintiffs

                          seek to certify;

                   (d)    as required by FED. R. CIV. P. 23(a)(4), that the Named Plaintiffs will fairly

                          and adequately protect the interests of the Settlement Class in that: (i) the

                          interests of the Named Plaintiffs and the nature of the alleged claims are

                          consistent with those of the Settlement Class members; and (ii) there appear

                          to be no conflicts between or among the Named Plaintiffs and the

                          Settlement Class;

                   (e)    as required by FED. R. CIV. P. 23(b)(1), the prosecution of separate actions

                          by individual members of the Settlement Class would create a risk of: (i)

                          inconsistent or varying adjudications as to individual Settlement Class

                          members that would establish incompatible standards of conduct for the

                          parties opposing the claims asserted in this Action; or (ii) adjudications as

                          to individual Settlement Class members that, as a practical matter, would be



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                          dispositive of the interests of the other members not parties to the individual

                          adjudications, or substantially impair or impede the ability of such persons

                          to protect their interests; and

                   (f)    as required by FED. R. CIV. P. 23(g), Class Counsel are capable of fairly and

                          adequately representing the interests of the Settlement Class, and that Class

                          Counsel:    (i) have done appropriate work identifying or investigating

                          potential claims in the Action; (ii) are experienced in handling class actions;

                          and (iii) have committed the necessary resources to represent the Settlement

                          Class.

          3.       The Court preliminarily appoints the Named Plaintiffs Carlos O. Nesbeth, Amit

 Godambe, Jenny Gallery, Misty Howell and Micah Webb as Class Representatives for the

 Settlement Class and Capozzi Adler, P.C., as Class Counsel for the Settlement Class.

          4.       Preliminary Approval of Proposed Settlement – The Settlement Agreement is

 hereby preliminarily approved as fair, reasonable, and adequate. This Court preliminarily finds

 that:

               a) The Settlement was negotiated vigorously and at arm’s-length by Defense Counsel,

                   on the one hand, and the Named Plaintiffs and Class Counsel on behalf of the

                   Settlement Class, on the other hand;

               b) Named Plaintiffs and Class Counsel had sufficient information to evaluate the

                   settlement value of the Action and have concluded that the Settlement is fair,

                   reasonable and adequate;

               c) If the Settlement had not been achieved, Named Plaintiffs and the Settlement Class

                   faced the expense, risk, and uncertainty of protracted litigation;



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               d) The amount of the Settlement – nine hundred fifty thousand dollars ($950,000.00)

                   is fair, reasonable, and adequate, taking into account the costs, risks, and delay of

                   litigation, trial, and appeal. The method of distributing the Class Settlement

                   Amount is efficient, relying on Defendants’ records and requiring no filing of

                   claims. The Settlement terms related to attorneys’ fees do not raise any questions

                   concerning fairness of the Settlement, and there are no agreements, apart from the

                   Settlement, required to be considered under FED. R. CIV. P. 23(e)(2)(C)(iv). The

                   Class Settlement Amount is within the range of settlement values obtained in

                   similar cases;

               e) At all times, the Named Plaintiffs and Class Counsel have acted independently of

                   the Defendants and in the interest of the Settlement Class; and

               f) The proposed Plan of Allocation is fair, reasonable, and adequate.

          5.       Establishment of Qualified Settlement Fund – A common fund is agreed to by

 the Settling Parties in the Settlement Agreement and is hereby established and shall be known as

 the “Settlement Fund.” The Settlement Fund shall be a “qualified settlement fund” within the

 meaning of Treasury Regulations § 1.468-1(a) promulgated under Section 468B of the Internal

 Revenue Code. The Settlement Fund shall be funded and administered in accordance with the

 terms of the Settlement. Defendants shall have no withholding, reporting or tax reporting

 responsibilities with regard to the Settlement Fund or its distribution, except as otherwise

 specifically identified in the Settlement. Moreover, Defendants shall have no liability, obligation,

 or responsibility for administration of the Settlement Fund or the disbursement of any monies from

 the Settlement Fund except for: (1) their obligation to cause the Gross Settlement Amount to be

 paid; and (2) their agreement to cooperate in providing information that is necessary for settlement



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 administration set forth in the Settlement Agreement. The Settlement Administrator may make

 disbursements out of the Settlement Fund only in accordance with this Order or any additional

 Orders issued by the Court. The Settlement Fund shall expire after the Settlement Administrator

 distributes all of the assets of the Settlement Fund in accordance with the Settlement Agreement,

 provided, however, that the Settlement Fund shall not terminate until its liability for any and all

 government fees, fines, taxes, charges and excises of any kind, including income taxes, and any

 interest, penalties or additions to such amounts, are, in the Settlement Administrator’s sole

 discretion, finally determined and all such amounts have been paid by the Settlement Fund. The

 Court and the Settlement Administrator recognize that there will be tax payments, withholding and

 reporting requirements in connection with the administration of the Settlement Fund. The

 Settlement Administrator shall, in accordance with the Settlement Agreement, determine,

 withhold, and pay over to the appropriate taxing authorities any taxes due with respect to any

 distribution from the Settlement Fund and shall make and file with the appropriate taxing

 authorities any reports or returns due with respect to any distributions from the Settlement Fund.

 The Settlement Administrator also shall determine and pay any income taxes owing with respect

 to the income earned by the Settlement Fund. Additionally, the Settlement Administrator shall file

 returns and reports with the appropriate taxing authorities with respect to the payment and

 withholding of taxes. The Settlement Administrator, in its discretion, may request expedited

 review and decision by the IRS or the applicable state or local taxing authorities, with regard to

 the correctness of the returns filed for the Settlement Fund and shall establish reserves to assure

 the availability of sufficient funds to meet the obligations of the Settlement Fund itself and the

 Settlement Administrator as fiduciaries of the Settlement Fund. Reserves may be established for

 taxes on the Settlement Fund income or on distributions. The Settlement Administrator shall have



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 all the necessary powers, and take all necessary ministerial steps, to effectuate the terms of the

 Settlement Agreement, including the payment of all distributions. Such powers include investing,

 allocating and distributing the Settlement Fund, and in general supervising the administration of

 the Settlement Agreement in accordance with its terms and this Order.                The Settlement

 Administrator shall keep detailed and accurate accounts of all investments, receipts, disbursements

 and other transactions of the Settlement Fund. All accounts, books and records relating to the

 Settlement Fund shall be open for reasonable inspection by such persons or entities as the Court

 orders.        Included in the Settlement Administrator’s records shall be complete information

 regarding actions taken with respect to the award of any payments to any person; the nature and

 status of any payment from the Settlement Fund and other information which the Settlement

 Administrator considers relevant to showing that the Settlement Fund is being administered, and

 awards are being made, in accordance with the purposes of the Settlement Agreement, this Order,

 and any future orders that the Court may find it necessary to issue.

           6.       Fairness Hearing – A hearing is scheduled for _____________________ [at least

 120 days after preliminary approval] to make a final determination, concerning among other

 things:

           •        Any objections from Class Members to the Settlement or any aspects of it.

           •        Whether the Settlement merits final approval as fair, reasonable, and adequate;

           •        Whether the Action should be dismissed with prejudice pursuant to the terms of the

                    Settlement;

           •        Whether Class Counsel adequately represented the Settlement Class for purposes

                    of entering into and implementing the Settlement;

           •        Whether the proposed Plan of Allocation should be granted final approval; and


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          •        Whether Class Counsel’s application(s) for Attorneys’ Fees and Costs and Case

                   Contribution Awards to the Named Plaintiffs are fair and reasonable, and should be

                   approved.

          7.       Settlement Notice – The Court approves the form of Settlement Notice attached as

 Exhibit A to the Settlement Agreement. The Court finds that such form of notice fairly and

 adequately: (a) describes the terms and effects of the Settlement Agreement, the Settlement, and

 the Plan of Allocation; (b) notifies the Settlement Class that Class Counsel will seek attorneys’

 fees and litigation costs from the Settlement Fund, payment of the costs of administering the

 Settlement out of the Settlement Fund, and for a Case Contribution Award for the Named Plaintiffs

 for their service in such capacity; (c) gives notice to the Settlement Class of the time and place of

 the Fairness Hearing; and (d) describes how the recipients of the Settlement Notice may object to

 any of the relief requested.

          8.       Settlement Administrator – The Court hereby approves the appointment of JND

 Legal Administration as the Settlement Administrator for the Settlement. The Court directs that

 the Settlement Administrator shall:

               •   By no later than __________________ (thirty days after entry of this Order), cause

                   the Settlement Notice, with such non-substantive modifications thereto as may be

                   agreed upon by the Parties, to be provided by first-class mail, postage prepaid, to

                   the last known address of each member of the Settlement Class who can be

                   identified through reasonable effort. Prior to mailing the Settlement Notice, JND

                   shall conduct an advanced address research (via skip-trace databases) in order to

                   identify current mailing address information for the Settlement Class members.

                   Additionally, JND must update the Settlement Class member address information



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                     using data from the National Change of Address (“NCOA”) database. After

                     mailing the Settlement Notice, JND shall use commercially reasonable efforts to

                     locate any Class Member whose Settlement Notice is returned and re-send such

                     documents one additional time.

                 •   By no later than ______________________(Thirty days after entry of this Order),

                     cause the Settlement Notice to be sent by email to any email addresses on file for

                     the Settlement Class members as of the date of this Preliminary Approval Order.

                 •   By no later than ______________________ (thirty days after entry of this Order),

                     cause the Settlement Notice to be published on the website identified in the

                     Settlement Notice, www.ICONERISAsettlement.com, which will also host and

                     make available copies of all Settlement-related documents, including the

                     Settlement Agreement.

                 •   The Court finds that the contents of the Settlement Notice and the process described

                     herein and in the Settlement are the best notice practicable under the circumstances,

                     and satisfy the requirements of Rule 23(c) and Due Process.

           9.        Petition for Attorneys’ Fees, Litigation Costs and Case Contribution Awards

 – Any petition by Class Counsel for attorneys’ fees, litigation costs and Case Contribution Awards

 to the Named Plaintiffs, and all briefs in support thereof, shall be filed no later than

 ___________________ (thirty days before the date for filing Objections specified in this Order).

           10.       Briefs in Support of Final Approval of the Settlement – Briefs and other

 documents in support of final approval of the Settlement shall be filed no later than

 _______________________ (thirty days before the date for filing objections specified in this

 Order).


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          11.      Objections to Settlement – Any member of the Settlement Class or authorized

 recipient of any CAFA Notice may file an objection to the fairness, reasonableness, or adequacy

 of the Settlement, to any term of the Settlement Agreement, to the Plan of Allocation, to the

 proposed award of attorneys’ fees and litigation costs, to the payment of costs of administering the

 Settlement out of the Settlement Fund, or to the request for a Case Contribution Award for the

 Named Plaintiffs. An objector must file with the Court a statement of his, her, or its objection(s),

 specifying the reason(s), if any, for each such objection made, including any legal support and/or

 evidence that the objector wishes to bring to the Court’s attention or introduce in support of the

 objection(s). The address for filing objections with the Court is as follows:

                   Clerk of the Court
                   James A. Byrne U.S. Courthouse
                   601 Market Street
                   Philadelphia, PA 19106

                   Re: Nesbeth, et al. v. ICON Clinical Research, LLC, et al.,
                       Civil Action No. 2:21-cv-01444-PD (EDPA)

          The objector or his, her, or its counsel (if any) must file the objection(s) and supporting

 materials with the Court and provide a copy of the objection(s) and supporting materials to Class

 Counsel and Defense Counsel at the addresses in the Settlement Notice no later than

 _____________ (fourteen days before the date of the Fairness Hearing specified in this Order). If

 an objector hires an attorney to represent him, her, or it for the purposes of making an objection

 pursuant to this paragraph, the attorney must also file a notice of appearance with the Court no

 later than __________________ (fourteen days before the date of the Fairness Hearing specified

 in this Order). Any member of the Settlement Class or other Person who does not timely file a

 written objection complying with the terms of this paragraph shall be deemed to have waived, and

 shall be foreclosed from raising, any objection to the Settlement, and any untimely objection shall



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 be barred.        Any responses to objections shall be filed with the Court no later than

 ______________________ (seven days before the date of the Fairness Hearing specified in this

 Order). There shall be no reply briefs.

          12.      Any additional briefs the Parties may wish to file in support of the Settlement shall

 be filed no later than _________________________ (seven days before the date of the Fairness

 Hearing specified in this Order).

          13.      Appearance at Final Approval Hearing – Any objector who files a timely,

 written objection in accordance with paragraph 11 above may also appear at the Fairness Hearing

 either in person or through qualified counsel retained at the objector’s expense. Objectors or their

 attorneys intending to appear at the Fairness Hearing must file a notice of intention to appear (and,

 if applicable, the name, address, and telephone number of the objector’s attorney) with the Court

 by no later than ___________________ (seven days before the date of Fairness Hearing specified

 in this Order). Any objectors, or their counsel, who does not timely file a notice of intention to

 appear in accordance with this paragraph shall not be permitted to speak at the Fairness Hearing,

 except for good cause shown.

          14.      Notice Expenses – The expenses of printing, mailing, and publishing the

 Settlement Notice required herein shall be paid exclusively from the Qualified Settlement Fund.

          15.      Parallel Proceedings – Pending final determination of whether the Settlement

 Agreement should be approved, the Named Plaintiffs, every Class Member, and the Plan are

 prohibited and enjoined from directly, through representatives, or in any other capacity,

 commencing any action or proceeding in any court or tribunal asserting any of the Released Claims

 against the Released Parties, including Defendants.




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          16.      Class Action Fairness Act Notice – The form of notice under the Class Action

 Fairness Act of 2005 (“CAFA”) submitted as Exhibit E to the Settlement Agreement complies

 with the requirements of CAFA and will, upon mailing, discharge Defendants’ obligations

 pursuant to CAFA.

          17.      Continuance of Final Approval Hearing – The Court reserves the right to

 continue the Fairness Hearing without further written notice to the Class Members and also may

 schedule the hearing to be done by telephone or video conference.

          SO ORDERED this ____ day of _________, 202__.



                                              ______________________________
                                              Hon. Paul S. Diamond
                                              United States District Judge




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                       EXHIBIT D
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                            UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    CARLOS O. NESBETH, AMIT            )
    GODAMBE, JENNY GALLERY, MISTY      )
    HOWELL and MICAH WEBB, individually)                  CIVIL ACTION NO.: 21-cv-01444-PD
    and on behalf of all others similarly situated,
                                       )
                                       )
                          Plaintiffs,  )
                                       )
               v.                      )
                                       )
    ICON CLINICAL RESEARCH, LLC, THE )
    BOARD OF DIRECTORS OF ICON         )
    CLINICAL RESEARCH, LLC, THE 401(K) )
    PLAN COMMITTEE OF ICON CLINICAL )
    RESEARCH, LLC and JOHN DOES 1-30. )
                                       )
                          Defendants.  )

                   [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT

          This Action came before the Court for hearing on __________________ to determine the

 fairness of the proposed Settlement presented to the Court and the subject of this Court’s Order

 Granting Preliminary Approval of Class Action Settlement, Preliminarily Certifying a Class for

 Settlement Purposes, Approving Form and Manner of Settlement Notice, and Setting Date for a

 Fairness Hearing. Due notice having been given and the Court having been fully advised in the

 premises,

 IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

          Except as otherwise defined herein, all capitalized terms used in this Final Order and

 Judgment shall have the same meanings as ascribed to them in the Settlement Agreement executed

 by counsel on behalf of the Named Plaintiffs, all Class Members, and Defendants, respectively.

          1.       The Court has jurisdiction over the subject matter of the Action and over all Settling

 Parties, including all members of the Settlement Class.



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          2.       For the sole purpose of settling and resolving the Action, the Court certifies this

 Action as a class action pursuant to Rules 23(a) and (b)(1) of the Federal Rules of Civil Procedure.

 The Settlement Class is defined as:

                   All persons who participated in the Plan at any time during the Class Period,
                   including any Beneficiary of a deceased person who participated in the Plan
                   at any time during the Class Period, and any Alternate Payee of a person
                   subject to a Qualified Domestic Relations Order who participated in the
                   Plan at any time during the Class Period. Excluded from the Settlement
                   Class are Defendants and their Beneficiaries.

          3.       The Court finds for the sole purpose of settling and resolving the Action that:

                   (a)    as required by FED. R. CIV. P. 23(a)(1), the Settlement Class is ascertainable

          from records kept with respect to the Plan and from other objective criteria, and the

          Settlement Class is so numerous that joinder of all members is impracticable.

                   (b)    as required by FED. R. CIV. P. 23(a)(2), there are one or more questions of

          law and/or fact common to the Settlement Class.

                   (c)    as required by FED. R. CIV. P. 23(a)(3), the claims of the Named Plaintiffs

          are typical of the claims of the Settlement Class that the Named Plaintiffs seek to certify.

                   (d)    as required by FED. R. CIV. P. 23(a)(4), that the Named Plaintiffs will fairly

          and adequately protect the interests of the Settlement Class in that: (i) the interests of the

          Named Plaintiffs and the nature of the alleged claims are consistent with those of the

          Settlement Class members; and (ii) there appear to be no conflicts between or among the

          Named Plaintiffs and the Settlement Class.

                   (e)    as required by FED. R. CIV. P. 23(b)(1), the prosecution of separate actions

          by individual members of the Settlement Class would create a risk of: (i) inconsistent or

          varying adjudications as to individual Settlement Class members that would establish

          incompatible standards of conduct for the parties opposing the claims asserted in this


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          Action; or (ii) adjudications as to individual Settlement Class members that, as a practical

          matter, would be dispositive of the interests of the other members not parties to the

          individual adjudications, or substantially impair or impede the ability of such persons to

          protect their interests.

                   (f)    as required by FED. R. CIV. P. 23(g), Class Counsel are capable of fairly and

          adequately representing the interests of the Settlement Class, and that Class Counsel: (i)

          have done appropriate work identifying or investigating potential claims in the Action; (ii)

          are experienced in handling class actions; and (iii) have committed the necessary resources

          to represent the Settlement Class.

          4.       The Court hereby appoints Named Plaintiffs Carlos O. Nesbeth, Amit Godambe,

 Jenny Gallery, Misty Howell and Micah Webb as Class Representatives for the Settlement Class

 and Capozzi Adler, P.C., as Class Counsel for the Settlement Class.

          5.       The Court hereby finds that the Settlement Class has received proper and adequate

 notice of the Settlement, the Fairness Hearing, Class Counsel’s application for attorneys’ fees and

 reimbursement of litigation costs and for Case Contribution Awards to the Named Plaintiffs, and

 the Plan of Allocation, such notice having been given in accordance with the Preliminary Approval

 Order. Such notice included individual notice to all members of the Settlement Class who could

 be identified through reasonable efforts, as well as notice through a dedicated Settlement website

 on the internet, and provided valid, due, and sufficient notice of these proceedings and of the

 matters set forth in this Order, and included sufficient information regarding the procedure for the

 making of objections. Such notice constitutes the best notice practicable under the circumstances

 and fully satisfies the requirements of FED. R. CIV. P. 23 and the requirements of due process.




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          6.       The Court hereby approves the Settlement and hereby orders that the Settlement

 shall be consummated and implemented in accordance with its terms and conditions.

          7.       Pursuant to FED. R. CIV. P. 23(e), the Court finds that the Settlement embodied in

 the Settlement Agreement is fair, reasonable and adequate to the Plan and the Settlement Class,

 and more particularly finds that:

                   (a)    The Settlement was negotiated vigorously and at arm’s-length by Defense

          Counsel, on the one hand, and the Named Plaintiffs and Class Counsel on behalf of the

          Settlement Class, on the other hand;

                   (b)    Plaintiffs and Defendants had sufficient information to evaluate the

          settlement value of the Action;

                   (c)    If the Settlement had not been achieved, Named Plaintiffs and the

          Settlement Class faced the expense, risk, and uncertainty of extended litigation;

                   (d)    The amount of the Settlement – nine hundred fifty thousand dollars

          ($950,000.00) is fair, reasonable, and adequate, taking into account the costs, risks, and

          delay of trial and appeal. The method of distributing the Class Settlement Amount is

          efficient and requires no filing of claims. The Settlement terms related to attorneys’ fees

          do not raise any questions concerning fairness of the Settlement, and there are no

          agreements, apart from the Settlement, required to be considered under FED. R. CIV. P.

          23(e)(2)(C)(iv). The Class Settlement Amount is within the range of settlement values

          obtained in similar cases;

                   (e)    At all times, the Named Plaintiffs and Class Counsel have acted

          independently of Defendants and in the interest of the Settlement Class; and




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                   (f)    The Court has duly considered and overruled any filed objection(s) to the

          Settlement to the extent there were any.

          8.       The Plan of Allocation is finally approved as fair, reasonable, and adequate. The

 Settlement Administrator shall distribute the Net Settlement Amount in accordance with the Plan

 of Allocation and the Settlement Agreement. The Settlement Administrator shall have final

 authority to determine the share of the Net Settlement Amount to be allocated to each Class

 Member in accordance with the Plan of Allocation approved by the Court.

          9.       All requirements of the Class Action Fairness Act, 28 U.S.C. § 1711, et seq., have

 been met.

          10.      The releases and covenants not to sue set forth in the Settlement Agreement,

 including but not limited to Article 7 of the Settlement Agreement, together with the definitions

 contained in the Settlement Agreement relating thereto, are expressly incorporated herein in all

 respects. The Releases are effective as of the Settlement Effective Date. Accordingly, the Court

 orders that, as of the Settlement Effective Date, the Plan, the Class Representatives, and the Class

 Members (and their respective heirs, beneficiaries, executors, administrators, estates, past and

 present partners, officers, directors, predecessors, successors, assigns, agents, and attorneys)

 hereby fully, finally, and forever settle, release, relinquish, waive, and discharge all Released

 Parties (including Defendants) from all Released Claims, regardless of whether or not such Class

 Member may discover facts in addition to or different from those which the Class Members or

 Class Counsel now know or believe to be true with respect to the Class Action and the Released

 Claims and regardless of whether such Class Member receives a monetary benefit from the

 Settlement, actually received the Settlement Notice, filed an objection to the Settlement or to any




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 application by Class Counsel for an award of Attorneys’ Fees and Costs, and whether or not the

 objections or claims for distribution of such Class Member have been approved or allowed.

          11.      The Class Representatives, Class Members, and the Plan hereby settle, release,

 relinquish, waive, and discharge any and all rights or benefits they may now have, or in the

 future may have, under any law relating to the releases of unknown claims, including without

 limitation, Section 1542 of the California Civil Code, which provides: “A general release does

 not extend to claims that the creditor or releasing party does not know or suspect to exist in his or

 her favor at the time of executing the release and that if known by him or her would have

 materially affected his or her settlement with the debtor or released party.” The Class

 Representatives, Class Members, and the Plan with respect to the Released Claims also hereby

 waive any and all provisions, rights and benefits conferred by any law or of any State or territory

 within the United States or any foreign country, or any principle of common law, which is

 similar, comparable or equivalent in substance to Section 1542 of the California Civil Code.

          12.      The Class Representatives, the Class Members, and the Plan acting individually or

 together, or in combination with others, are hereby permanently and finally barred and enjoined

 from suing the Released Parties in any action or proceeding alleging any of the Released Claims.

          13.      Each Class Member hereby releases the Released Parties, Defense Counsel, and

 Class Counsel for any claims, liabilities, and attorneys’ fees and expenses arising from the

 allocation of the Gross Settlement Amount or Net Settlement Amount and for all tax liability and

 associated penalties and interest as well as related attorneys’ fees and expenses.

          14.      The operative complaint and all claims asserted therein in the Action are hereby

 dismissed with prejudice and without costs to any of the Settling Parties and Released Parties other

 than as provided for in the Settlement Agreement.



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          15.      The Court shall retain exclusive jurisdiction to resolve any disputes or

 challenges that may arise as to the performance of the Settlement Agreement or any challenges as

 to the performance, validity, interpretation, administration, enforcement, or enforceability of the

 Settlement Notice, Plan of Allocation, this Final Approval Order and Judgment, or the Settlement

 Agreement or the termination of the Settlement Agreement. The Court shall also retain exclusive

 jurisdiction and rule by separate Order with respect to all applications for awards of attorneys’ fees

 and Case Contribution Awards to the Named Plaintiffs, and reimbursements of litigation costs,

 submitted pursuant to the Settlement Agreement.

          16.      Any motion to enforce this Final Approval Order and Judgment or the Settlement

 Agreement, including by way of injunction, may be filed in this Court, and the provisions of the

 Settlement Agreement and/or this Final Approval Order and Judgment may also be asserted by

 way of an affirmative defense or counterclaim in response to any action that is asserted to violate

 the Settlement Agreement.

          17.      In the event that the Settlement Agreement is terminated, in accordance with its

 terms, this Final Approval Order and Judgment shall be rendered null and void, ab initio, and shall

 be vacated nunc pro tunc, and this Action shall for all purposes with respect to the Parties revert

 to its status as of the day immediately before the day the Settlement was reached. The Parties shall

 be afforded a reasonable opportunity to negotiate a new case management schedule.

          18.      With respect to any matters that arise concerning the implementation of

 distributions to Class Members who have an Active Account (after allocation decisions have been

 made by the Settlement Administrator in its sole discretion), all questions not resolved by the

 Settlement Agreement shall be resolved by the Plan administrator or other fiduciaries of the Plan,

 in accordance with applicable law and the governing terms of the Plan.



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          19.      Within twenty-one (21) calendar days following the issuance of all settlement

 payments to Class Members as provided by the Plan of Allocation approved by the Court, the

 Settlement Administrator shall prepare and provide to Class Counsel and Defense Counsel a list

 of each person who received a settlement payment or contribution from the Qualified Settlement

 Fund and the amount of such payment or contribution.

          20.      Upon entry of this Order, all Settling Parties, the Settlement Class, and the Plan

 shall be bound by the Settlement Agreement and this Final Approval Order and Judgment.

                SO ORDERED this ____ day of _________, 202__.

                                                        ______________________________
                                                        Hon. Paul S. Diamond
                                                        United States District Judge




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